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                         Exhibit B




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                          IN THE UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


      MICAH BELLAMY, ANTHONY COOK,
      and MAURICE JONES, et. al.

      Plaintiffs,

      v.                                           CASE NO.: 6:17-cv-891-ORL-40KRS


      GOVERNMENT EMPLOYEES INSURANCE
      COMPANY, GEICO GENERAL INSURANCE
      COMPANY,

      Defendants.
      ______________________________________

      ANTHONY LORENTI and
      ASHLEY BARRETT, individually and on behalf
      of all others similarly situated,

      Plaintiffs,

      v.                                           CASE NO. 6:17-cv-1755-ORL-40DCI


      GEICO INDEMNITY COMPANY,

      Defendant.
      ______________________________________

                         DECLARATION OF EDMUND A. NORMAND

              Edmund A. Normand, declares as follows, pursuant to 28 U.S.C. § 1746:

              1.     My name is Edmund A. Normand. I am over the age of majority, provide

       this declaration voluntarily, and it is based on personal knowledge.




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            2.      I have been licensed to practice law in the State of Florida since 1990.

            3.      I am a partner in the law firm Normand PLLC (“Normand PLLC”), a firm

      with three lawyers. I am one of the attorneys that this court appointed as Class Counsel

      and I serve as Lead Counsel representing Plaintiffs and the Certified Class in the

      above-styled lawsuit. I was the lead negotiator in this case and I worked extensively on

      discovery, including expert witness depositions and reports. I was also heavily involved

      in briefing, research of significant issues, factual development and strategic analysis. I

      developed the legal theories in the case including, for the first time ever, the pursuit of

      tag transfer fees as part of the total loss ACV replacement cost damages.

            4.      This declaration is submitted in support of the parties’ Motion for

      Approval of Attorneys’ Fees and Service Awards.

            5.      This declaration sets forth the basis for and background related to the

      application for attorney’s fees and expenses of Normand PLLC, outlines why the

      application for attorney’s fees and expenses is reasonable and should be approved by the

      Court. It also provides support for the Service Awards of Class Representative Plaintiffs

      Bellamy, Jones and Cook.        Further information regarding the efforts of the Class

      Representatives are outlined in their respective declarations, which are attached as

      composite Exhibit G to the Motion.

            6.      The factual summary of the events of this lawsuit that I and Normand

      PLLC lawyers performed are incorporated herein as set forth in the Declarations of

      Jacob Phillips submitted in support of the Unopposed Motion for Final Approval of


                                                  2



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      Proposed Class Action Settlement and the Motion for Attorneys’ Fees, Costs, and

      Service Awards. I have extensively reviewed the declarations submitted by Mr. Phillips

      and affirm it is true and correct. I have been actively involved in the prosecution of the

      Action, am intimately familiar with its proceedings, and have personal knowledge of the

      matters set forth herein based upon my active participation. If called as a witness, I

      could and would testify competently thereto.

                            Time and Resources Expended on the Case

            7.      Three lawyers, and multiple legal assistants from Normand PLLC have

      worked on this matter. The firm takes matters such as this solely on a contingency basis

      with no way to mitigate the loss of time or costs expended. I served as lead partner in the

      case for the firm. Jacob Phillips was the other primary lawyer who performed substantial

      work on the case, including taking co-lead on writing briefs, taking depositions, drafting

      written discovery, research, and overall strategy. Non-duplicative work was performed

      by Attorney Alex Couch who oversaw management of discovery, as well as paralegals

      and legal assistants primarily related to review of discovery, litigation support, filing,

      managing case files, client communication, and other tasks.

            8.       To date, Normand PLLC’s lawyers and paralegals have spent a total of

      2,101.33 hours having a value of ​$1,137,378.25 ​from September 2017 through the

      present, calculated at our firm's current customary hourly rates for this type of matter.




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            9.       These hours reflect an exercise of billing judgment so that all hours

      incurred actually are not billed. After exercising billing judgment, the amount of time

      recorded by each lawyer and assistant and their billing rates are as follows:

            Timekeeper                 Position         Rate        Hours             Total

       Normand, Edmund                  Partner        $750.00     714.66      $ 535,995.00

       Phillips, Jacob                 Associate       $525.00     1,084.67    $ 534,120.75

       Couch, Alex                     Associate       $450.00      48.44      $ 21,798.00

       Montecalvo, Michelle            Paralegal       $195.00      72.85      $ 10,533.55

       Sherwood, Janna                 Paralegal       $225.00     172.07      $ 34,282.95

       Schult, Nadia                   Assistant       $ 75.00       8.12      $       609.00

       Masters, Julie                  Assistant       $ 75.00       0.52      $       39.00



            10.         I believe that the rates set forth above are reasonable and commensurate

      with, if not lower than, rates charged by lawyers in the Central Florida area handling

      similar types of complex class action and insurance matters. I have reviewed the hourly

      tasks for duplication of efforts or unreasonable entries, and believe that the tasks are

      reasonable and non-duplicative. There is no way to mitigate the loss of the value of our

      time invested in this matter apart from the costs awarded in connection with the Class

      Action settlement.

            11.      The aforementioned hours are up through and including June 1, 2020.

      They do not include any time which will inevitably be expended in continuing to

      participate in the Settlement process (including submission of claims through June 10,


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      2020), correspondence with Class Members, assisting and monitoring the claims’

      payment process, preparing for the final fairness hearing, attending the final fairness

      hearing (during which I will be lead counsel), or any other tasks. I estimate that at

      minimum an additional 50-60 hours will be expended.

            12.     Normand PLLC has expended reasonable costs in this matter of

      $197,546.05. These costs were necessarily incurred in the prosecution of this matter and

      are reasonable costs. There is no way to mitigate the loss of these costs apart from the

      costs awarded in connection with the Class Action settlement.

            13.     Due to the substantial time commitment, Normand PLLC forewent other

      fee and profit-generating opportunities in pursuit of this case.          We handle only

      contingency matters, and have limited staff and attorney resources. Work on this matter

      kept us from providing attention to other pending or possible matters. I am familiar with

      the time, expense and efforts required to litigate class action cases on a contingency fee

      basis, and I am further aware from other cases of the difficulty in litigating against Geico

      and their able lawyers. Given the difficulty, cost, and substantial time and effort needed

      for a case of this type, Normand PLLC would not have taken on this case without the

      opportunity for a multiplier.

                              Normand PLLC’s Lawyer Experience

            14.     Normand PLLC is a consumer class-action and complex litigation firm.

      While Normand PLLC is involved in a variety of different types of litigation at the trial

      and appellate level, Normand PLLC specializes in complex class action litigation in


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      insurance, privacy violations, and deceptive practices across various industries. The firm

      also handles select medical malpractice, personal injury and product liability cases.

            15.     Normand PLLC is counsel of record in numerous other class action cases,

      in multiple states, addressing numerous causes of action and various industries.

                                  Ed Normand - Normand PLLC

            16.     I am the sole shareholder/partner and founder of Normand PLLC.

      Normand PLLC is a consumer litigation and plaintiff's trial law firm with offices in

      Orlando, Florida. I founded the firm with a focus on complex consumer class action and

      complex tort and insurance litigation.

            17.     As a brief summary of my experience, I graduated from the University of

      Texas School of Law, with high honors, and was inducted into the Chancellors, which is

      an honorary society limited to the eight highest GPAs at the law school. I have been a

      member of the Florida Bar since 1990. I have been a Florida Bar Board-Certified Trial

      lawyer since 2003 (re-certification in 2007, 2012, 2017). I was a Director and President

      of the Central Florida Trial Lawyers Association 2011-2012. I am an American Mensa

      Member. I was nominated and selected as a member of the American Board of Trial

      Advocates (ABOTA). I have been recognized by my peers with an AV Preeminent Peer

      Review Rating Martindale-Hubbell. I am certified to practice in the 11th, and 5th United

      States Circuit Courts. As well as a number of other federal district courts and state

      courts.




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            18.      I have extensive experience in complex class action cases in federal and

      state courts. I am currently involved in a number of past and present putative class

      actions including:

                  (a) I am lead counsel and appointed Class Counsel in ​Roth v. GEICO General

                     Ins. Co., Case No. 16-62942-Civ-DIMITROULEAS (S.D. Fla.), in which

                     final judgment was entered on behalf of a certified class of GEICO leased

                     vehicle total-loss insureds due to GEICO’s failure to include sales tax and

                     title transfer fees in making ACV payments. The case is presently on

                     appeal in the 11th Circuit.

                  (b) I am lead counsel and appointed Class Counsel in ​Joffe, et. al. v. Geico

                     Indemnity Company et al​., Case No. 18-61361-CIV-DIMITROULEAS

                     (S.D. Fla.), which involves the non-payment of sales tax and title transfer

                     fees for leased vehicles in making ACV payments.

                  (c) I am lead counsel and appointed Class Counsel in ​Sos v. State Farm

                     Mutual Insurance Company, Case No. 6:17-cv-890-orl-18KRS, which

                     involves alleged underpayment of sales tax and tag and title fees on

                     total-loss leased vehicles in Florida.

                  (d) I am lead counsel and appointed Class Counsel in ​Venerus v. Avis Budget

                     Car, et al., ​Case No. 6:13-CV-921-CEM-GJK a class action which

                     concerns a failure to procure car rental insurance for hundreds of

                     thousands for foreign car-renters for millions of daily rental transactions.


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                 Venerus ​was successfully appealed in the Eleventh Circuit after

                 succeeding at trial for the named Plaintiff and decertification of a

                 previously certified class. The Class is now Certified again as a class

                 action with a trial on class damages pending.

              (e) I served as counsel in ​Resnick v. AvMed, Inc​., a certified and settled class

                 action which made important law in the data breach jurisprudence in the

                 11th Circuit, See ​Resnick v. AvMed, Inc.​, 693 F.3d 1317, 1325 (11th Cir.

                 2012).

              (f) I served as lead counsel and class counsel on a certified class action in the

                 Middle District of Florida, ​Parker, et al., v. Universal Pictures, et al.,

                 Case No. ​6:16-cv-1193-Orl-41DCI​, ​a TCPA certified class action

                 involving hundreds of thousands which obtained final approval of a class

                 action settlement of $19.5 million dollars.

              (g) I am involved in class actions across Florida and the United States,

                 including the following class action cases in Florida State Courts where I

                 was or am lead counsel and/or class counsel: ​Avila-Preciado v. Horace

                 Mann Property Casualty Insurance Co​., Case No. 19-CA-004683, Circuit

                 Court, Lee County Circuit Court, Fla.; ​Bracero v. Mendota Insurance

                 Company​, Case No. 2019-015886-CA-01, Miami-Dade County Circuit

                 Court, Fla; ​Angelique Harrell v. Mendota Ins. Co., ​Case No.

                 2019-CA-3794-MA, Duval County Circuit Court, Fla.; ​Colon v. Direct


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                     General Insurance Co.​, Case No.2019-CA-1636 OC, Osceola County

                     Circuit Court, Fla.; ​Stephany Carvajal v. Imperial Fire and Cas. Ins. Co​.

                     Case No. 2019-022281-CA-01, Miami-Dade County Circuit Court, Fla.;

                     Dana    Washington      v.   Integon    Preferred      Ins.    Co.,   ​Case   No.

                     2019-CA-007733-O, Orange County Circuit Court, Fla.; ​Cruz-Santiago v.

                     Amica    Mutual     Insurance       Company,   ​Case     No.     19-CA-006930,

                     Hillsborough County Circuit Court, Fla.; ​Giordani et al. v. Ascendant

                     Commercial Insurance, Inc.​, Case No. 2018-CA-001024-O, Orange

                     County Circuit Court, Fla.; ​Robley v. IDS Property Casualty Insurance

                     Co., Case No. 2019-022263-CA-10​, Miami-Dade County Circuit Court,

                     Fla.; ​Smart et al. v. Auto Club Insurance Co et al​., Case No.

                     19-CA-005580, Hillsborough County Circuit Court, Fla.; and ​Suarez v.

                     MAPFRE Insurance Co. of Florida​, Case No. 2019-020729-CA-01,

                     Miami-Dade County Circuit Court, Fla.

                                  Jacob Phillips – Normand PLLC

             19.     Mr. Phillips graduated cum laude from the University of Florida Levin

       School of Law. While in law school, he clerked for Judge Eric Melgren, Federal District

       of Kansas.

             20.     He is a member of the Federal Bar, Florida Bar, Orange County Bar

       Association, and is certified to practice in the 11th, 5th and 7th Circuit Courts of

       Appeals. Mr. Phillips specializes in class action and appellate litigation. In recent years


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       he has handled appeals in the aforementioned federal appellate courts, as well as

       Florida’s Fifth, Third, and First District Court of Appeals and Ohio state appellate

       courts.

                21.   He is a member of the Middle, Southern, and Northern Districts of

       Florida, and numerous federal district courts. He has been appointed as class counsel in

       numerous state and federal certified class action lawsuits, including ​Roth v. GEICO

       General Ins. Co., Case No. 16-62942-Civ-DIMITROULEAS (S.D. Fla.), ​Joffe, et. al. v.

       Geico Indemnity Company et al​., Case No. 18-61361-CIV-DIMITROULEAS (S.D.

       Fla.), and ​Venerus v. Avis Budget Car et al.​ , Case No. 6:13-cv-921-Orl-41-GJK (M.D.

       Fla.).

                                    Alex Couch – Normand PLLC

                22.   Alex Couch is an associate at Normand PLLC. He is a 2015 graduate of

       Florida A&M University, College of Law. He has been a member of the Florida Bar

       since 2015, and a member of the Middle District of Florida since 2017. He focuses his

       practice on class action insurance and personal injury litigation. Mr. Couch has

       extensive experience litigating class action cases. Mr. Couch worked with the class

       representatives in obtaining factual proof of their underlying claims, performed data

       analysis pertaining to leased vehicle sales transactions, and participated in deposition

       preparation and discovery.

                            Contribution of the Class Representatives




                                                 10



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                23.       The case was originally started with two different Class Representatives

          Elizabeth Sullivan and Anthony Cook both of whom, because of personal and

          professional difficulties and commitments involving the time and pressure involved in

          being class representatives withdrew as named Plaintiffs. Mr. Jones, Mr. Bellamy and

          Mr. Cook agreed to and did serve as Class Representatives through the certification

          process, summary judgment, settlement and the certification process. Retainer contracts

          were executed with the class representatives, all of which provided that the plaintiffs had

          no responsibility for attorney’s fees or costs of any type if the cases proved

          unsuccessful.

          Retainer contracts with Mr. Jones, Mr. Bellamy and Mr. Cook, which are attached

          hereto as ​Composite Exhibit 1​, provide that the case was undertaken on a pure

          contingency basis. Pursuant to the representation agreements, the named Plaintiffs had

          no responsibility for attorney’s fees or costs of any type if the cases proved

          unsuccessful. There is no ongoing relationship with any of the named Plaintiffs that

          would allow repeat work or that constitute any conflict of interest in the representation

          or the roles of the Class Representatives in this matter1. The contributions of the Class

          Representatives are significant and involved extensive amounts of time and personal



      1
        ​Normand PLLC did have a prior relationship on a personal injury product liability matter with the original
      class representative Elizabeth Sullivan. Ms. Sullivan eventually withdrew as a class representative and was
      replaced by Mr. Bellamy. Normand PLLC also represents Mr. Jones in a representative capacity as
      Personal Representative of the Estate of his deceased daughter in a wrongful death action involving the
      subject vehicle. Nothing about the representation of Mr. Jones or Ms. Sullivan involved any of the claims
      or damages sought in this case and there was and is no compensation implied or promised related to this
      matter in those matters.

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       risk.    Each Class Representative participated in two mediations (for a total of

       approximately 15 hours), and each attended at least one of the mediations in person. The

       Class Representatives missed substantial work and sacrificed personal time to participate

       in the mediations. Each Class Representative provided input to counsel during both

       mediations (and were involved in settlement evaluations after the mediations) relating to

       settlement negotiations, including evaluation of the settlement offers at each stage of the

       litigations to ensure fair resolution for the class. The Class Representatives

       independently evaluated issues relevant to settlement, including settlement structure,

       potential forms of class notice, protection of due process rights, etc. for the class

       members. They consistently followed up with Class Counsel on major issues and

       pleadings, requested updates, sought to understand all legal and factual issues, and

       stayed up-to-date on relevant rulings and orders. The Named Class Representatives

       spent time doing extensive paper discovery including locating supporting documents for

       the purchases of the subject vehicles, the governmental fees paid, and each of the Class

       Representatives were subjected to lengthy depositions regarding the case, the policies

       and their roles as class representatives. The services of the Class Representatives are

       outlined in their respective declarations, attached as composite Exhibit G to the Motion

       for Attorneys’ Fees, Costs, and Service Awards.

               24.   There is no evidence that any of the Named Plaintiffs possess any conflict

       of interest with the Settlement Class, and there are no interests in which the Named




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       Plaintiffs and/or some class members are benefitted while other class members are

       harmed.

              25.     Respectfully, the class settlement is in the best interests of the settlement

       class. The settlement results in payment of 100% of the damages sought in the case plus

       full prejudgment interest. The settlement amount includes more in damages than was

       awarded by the Court at summary judgment. The settlement includes robust notice and

       a simple claims process. The notice and claims process includes both mailed detachable

       postcard notice and three email notices. The emails include a prefilled hyperlink so that

       with one click on the claims link in any of the three emails, all claims of the class

       member (including multiple vehicle claims, if any) are prefilled and executed with a

       simple attestation by the class member. Similarly, the postcard notice is prefilled and is

       postage prepaid; only one postcard needs to be signed and put in the mail for all claims

       of the class member to be recognized. There are significant risks to class members as

       outlined in the Declaration of Mr. Phillips including not just an appeal in this case, but

       also the pending appeal in the ​Roth v. Geico case. There are no risks to accepting the

       payment because only the claims sued upon (tag and title transfer fees) are released in

       the settlement. Any and all other possible claims the class member may have, say for

       example, a gripe about the assigned vehicle value by Geico are preserved. The

       settlement eliminates any risk of no recovery or reduced recovery. Further, the

       settlement provides for valuable injunctive relief wherein Geico agrees to pay tag and

       title fees at the exact rate sued upon in the future. In fact, Geico is already paying the full


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       tag and title fees sued upon in total loss settlement claims it has processed since the

       order preliminarily approving the Settlement.        The claims-made structure of the

       settlement will likely result in some class members choosing not to participate in the

       Settlement.   This is fair and in the best interest of the Class Members because

       Defendants made ​no other offer​, even at a compromised damages amount and insisted

       on a claims-made structure. In return the class members get 100% relief, plus interest,

       an expanded class, prospective relief, and a robust notice and claims process and all fees

       and costs paid by Defendant.

             26.     I declare under penalty of perjury that the foregoing is true and correct.


      Executed in Orange County, Florida, this 2nd day of June, 2020.



                                                           _/s/ Ed Normand___
                                                             _____________
                                                           Edmund A. Normand




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                               Tel: 407-603-6031 | Fax: 888-974-2175
                                            www.EdNormand.com


                                        AUTHORITY TO REPRESENT




         Mr. Maurice Jones
         3333 Mccormick Woods Dr.
         OcoeeFL 34761.
         Phone: 407-592-2950

         mijones 1 3@gmail.cotn


         He:     Authority to Represent


         Dear Maurice;


                 I am writing to set out the terms of the retainer agreement through which we will
         investigate and potentially prosecute the actions that GEICO took by not paying you (as
         person representative of the estate of Kailyn Jones) what you are owed. By signing this
         letter-agreement, you will have retained the law firm ofNORMAND LAW PLLC and other
         such lawyers (see listed below) that may work with us on this case (hereinafter "the
         lawyers") to represent you in the aforementioned matter. Should we ultimately decide to file
         suit, our plan is to pursue this matter on your behalf and on behalf of others similarly
         situated.


                 The lawyers will represent both you and the class on a contingent basis. This means
         that you will not be obligated to pay any of our attorneys' fees or expenses unless we secure
         some recovery, whether through settlement or judgment or otherwise, whether monetary or
         otherwise, on behalf of either you or the class.




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                 Should we achieve a recovery on behalf of a class, we will petition the court for an
          award of attorneys' fees and expenses. Although the court will determine what to award, you
          agree that a fair award of attorneys' fees from a fund recovered for the class would be
          one-third of the total recovery plus reimbursement of all costs and expenses with interest.


                Alternatively, should the court use the lodestar method of awarding fees (number of
         hours worked times a multiplier), you agree that a fair award of fees would be a lodestar
         based on our then-current hourly rates with a multiplier of at least three, plus the
         reimbursement of all our costs and expenses with interest. In no event would you be required
         to pay us more than half of what we recover for you. If we do not recover any amount on
         your behalf, you will not be required to pay us any of our fees, costs, expenses or any other
         amount whatsoever.


                 You agree to pay and hereby authorize my attorneys to advance the costs for
         investigating and preparing my case and for court costs as necessary. These costs include, but
         are not limited to, such items as police reports, hospital and medical records, the costs of
         electronic research, long-term file storage, photographs, filing fees, costs of serving
         summonses and subpoenas, court reporters fees, jury list, exhibits, state records, investigation
         expenses, expert witness fees, including fees for medical testimony and fees for medical
         conferences. Costs further include the interest on the costs advanced at the U.S. Prime rate.
         You understand that these costs include all expenses advanced or incurred in pursuit of my
         claim. Our advanced costs will be subtracted and repaid from any recovery after the fees and
         thus the fees discussed above will be based on the gross amount recovered.


                 If class certification is denied, or if the case reaches a point where it is no longer
         viable or appropriate to prosecute this lawsuit on behalf of the Class, the lawyers have no
         obligation to represent you on an individual basis. However, if we do achieve a recovery for
         you individually, but not on behalf of the Class, then the lawyers will seek to recover fees
         (plus costs and expenses previously advanced by the lawyers) directly from the defendant.
         You understand that if we settle your claims individually, the attorneys' fees we recover from
         the defendant may significantly exceed any amounts paid to you individually as part of the
         same settlement agreement. That is because your individual settlement amount, if any, is
         based on your potential damages and potential recovery on an individual basis. However, the
         basis for any demand that we make on the defendant to pay our attorneys' fees is based on
         our hourly rates and/or the methods for fee determination mentioned above. Under no
         circumstances will the lawyers take a contingency fee from an individual settlement. Rather,
         under an individual settlement, the entire amount of your settlement would be yours to keep
         and the attorneys' fees will come directly from the defendant.



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                 You understand that in certain actions the court may award against the opposing party
          an attorney's fee that may be greater than that provided by the contingent fee agreement, In
          such cases, you agree that a reasonable fee shall be the greater of the two and your attorneys
          agree to accept the greater fee as full compensation for attorneys' fees.


                  You understand that you may have to produce evidence, either to demonstrate your
         ability to be an adequate plaintiff, or to support your claims. This may include assisting with
          answering written discovery, having your deposition taken, giving oral testimony and/or
         appearing at trial, and possibly producing physical evidence. We understand and appreciate
         that you may object to an opposing party's unchecked access to your personal information.
         We will vigorously oppose the production of any irrelevant personal information and seek
         protective orders that limit any defendant's access to any evidence that contains confidential
         information (including attorney-client communications).


                 You also understand that you have an obligation to preserve evidence, including
         electronic evidence such as e-mails. You must preserve evidence that common sense would
         dictate is relevant to your claims. You should conference with us prior to destroying any
         evidence you believe might be relevant to your claims. This includes any electronic
         information such as e-mails.


                 You also agree to provide up-to-date contact information to the lawyers, including
         your current physical address, email address, and a telephone number where you can readily
         be reached.


                This agreement is meant to bind and benefit the heirs and successors of each of the
         parties to this agreement. To that end, you hereby grant the lawyers a lien on any claims,
         causes of action, or recovery that you obtain, whether through settlement, judgment or
         otherwise, relating to the subject of this agreement. The lien will be based upon the amount
         of our attorneys' fees, costs, and expenses as set forth above. This lien will not apply if we
         withdraw as your counsel purely out of our own choice.


                You have, before signing this contract, received and read the Statement of Client's
         Rights and understand each of the rights set forth therein. You have signed the Statement and
         will have a copy to keep to refer to while being represented by the undersigned attorney(s).


                This contract may be cancelled by written notification to the attorney(s) at any time
         within three (3) business days of the date the contract was signed, as shown below, and if
         cancelled, the client shall not be obligated to pay any fees to the attorney(s) for the work
         performed during that time. If the attorney(s) have advanced funds to others in representation

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          of the client, the attorney(s) are entitled to be reimbursed for such amounts as they have
          reasonably advanced on behalf of the client.


                You agree that upon written notice the lawyers may terminate their representation in
         compliance with the rules regulating the Florida Bar.


                If you have MY questions about any aspect of this letter-agreement, please ask before
         you sign it. If you do not have any questions, and the agreement is acceptable, please sign
         and date it in the space provided below. We look forward to working with you.

                                                                                   s



                                                                Sincerely,
                                                                             y-




                                                                 /

                                                                     7^
                                                                Signature


                                                            /    "XicM Puvps
                                                                Printed Name

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         Agreed to by:                                                     10/03/2017

                                   Client Signature                                Date




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                                    ASSOCIATING ATTORNEY CLAUSE


          I understand and consent that the law firm of NORMAND LAW PLLC is associated as
          counsel with Christopher Lynch and that a division of the applicable fees in this Agreement
          shall be made between these attorneys in proportion to the legal services to be performed and
          the responsibility assumed by each. 1 understand that actual legal services shall be performed
          by agreement of my attorneys, while legal responsibility shall be shared equally.


         Date_



         NORMAND LAW PLLC


         BY       Maurice Jones
              Client


         BY
            Associating Attorney


         BY
            Associating Attorney                           Signature




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                      NORLAND                       P L L C



                                      AUTHORITY TO REPRESENT




    Mr. Anthony Cook
    109 W. Frederick Ave
    Lake Mary, FL 32746
    Tel: 3(321)231-6998
    Email: acook_777@hotmail.com


    Re:     Authority to Represent


    Dear Anthony:


            I am writing to set out the terms of the retainer agreement through which we will
    investigate and potentially prosecute the actions that GEICO took by not paying you what you
    were owed. By signing this letter-agreement, you will have retained the law firm of NORMAND
    PLLC and other such lawyers (see listed below) that may work with us on this case (hereinafter
    "the lawyers") to represent you in the aforementioned matter. Should we ultimately decide to
    file suit, our plan is to pursue this matter on your behalf and on behalf of others similarly
    situated.


            The lawyers will represent both you and the class on a contingent basis. This means that
    you will not be obligated to pay any of our attorneys' fees or expenses unless we secure some
    recovery, whether through settlement or judgment or otherwise, whether monetary or otherwise,
    on behalf of either you or the class.


            Should we achieve a recovery on behalf of a class, we will petition the court for an award
    of attorneys' fees and expenses. Although the court will determine what to award, you agree that
    a fair award of attorneys' fees from a fund recovered for the class would be one-third of the total
    recovery plus reimbursement of all costs and expenses with interest.


           Alternatively, should the court use the lodestar method of awarding fees (number of hours
    worked times a multiplier), you agree that a fair award of fees would be a lodestar based on our
    then-current hourly rates with a multiplier of at least three, plus the reimbursement of all our
    costs and expenses with interest. In no event would you be required to pay us more than half of
    what we recover for you. If we do not recover any amount on your behalf, you will not be
    required to pay us any of our fees, costs, expenses or any other amount whatsoever.


                             3165 MCCRORY PI ACE, SUITE 175 • ORLANDO, FI., 32803
                                            T 3(407) 603-6031 I 3(888) 974-2175
                                                 EDNORMAND.COM

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                                                                                                        or
          If class certification is denied, or if the case reaches a point where it is no longer viable
                                                                                                    to
   appropriate to prosecute this lawsuit on behalf of the Class, the lawyers have no obligation
                                                                                  you individually,
   represent you on an individual basis. However, if we do achieve a recovery for
                                                                                              expenses
   but not on behalf of the Class, then the lawyers will seek to recover fees (plus costs and
                                                                                             if we
   previously advanced by the lawyers) directly from the defendant. You understand that
   settle your claims individually, the attorneys' fees we recover from the defendant may
   significantly exceed any amounts paid to you individually as part of the same settlement
                                                                                     your potential
   agreement. That is because your individual settlement amount, if any, is based on
                                                                                               that
   damages and potential recovery on an individual basis. However, the basis for any demand
                                                                                           the
   we make on the defendant to pay our attorneys' fees is based on our hourly rates and/or
                                                                                              take a
   methods for fee determination mentioned above. Under no circumstances will the lawyers
                                                                                          the entire
   contingency fee from an individual settlement. Rather, under an individual settlement,
                                                                                      directly
   amount of your settlement would be yours to keep and the attorneys' fees will come
   from the defendant.


           You understand that in certain actions the court may award against the opposing party an
   attorney's fee that may be greater than that provided by the contingent fee agreement. In such
                                                                                                   to
   cases, you agree that a reasonable fee shall be the greater of the two and your attorneys agree
   accept the greater fee as full compensation for attorneys' fees.


            You understand that you may have to produce evidence, either to demonstrate your ability
    to be an adequate plaintiff, or to support your claims. This may include assisting with answering
    written discovery, having your deposition taken, giving oral testimony and/or appearing at trial,
    and possibly producing physical evidence. We understand and appreciate that you may object to
    an opposing party's unchecked access to your personal information. We will vigorously oppose
    the production of any irrelevant personal information and seek protective orders that limit any
    defendant's access to any evidence that contains confidential information (including
    attorney-client communications).


            You also understand that you have an obligation to preserve evidence, including
    electronic evidence such as e-mails. You must preserve evidence that common sense would
    dictate is relevant to your claims. You should conference with us prior to destroying any
    evidence you believe might be relevant to your claims. This includes any electronic information
    such as e-mails.


            You also agree to provide up-to-date contact information to the lawyers, including your
    current physical address, email address, and a telephone number where you can readily be
    reached.




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                                           T 2(407) 603-6031 V 2(888) 974-2175
                                                EDNORMAND.COM


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           This agreement is meant to bind and benefit the heirs and successors of each of the
   parties to this agreement. To that end, you hereby grant the lawyers a lien on any claims, causes
   of action, or recovery that you obtain, whether through settlement, judgment or otherwise,
   relating to the subject of this agreement. The lien will be based upon the amount of our
   attorneys' fees, costs, and expenses as set forth above. This lien will not apply if we withdraw as
   your counsel purely out of our own choice.


           You have, before signing this contract, received and read the Statement of Client's Rights
   and understand each of the rights set forth therein. You have signed the Statement and will have a
   copy to keep to refer to while being represented by the undersigned attomey(s).


           This contract may be cancelled by written notification to the attorney(s) at any time
   within three (3) business days of the date the contract was signed, as shown below, and if
   cancelled, the client shall not be obligated to pay any fees to the attorney(s) for the work
   performed during that time. If the attorney(s) have advanced funds to others in representation of
   the client, the attorney(s) are entitled to be reimbursed for such amounts as they have reasonably
   advanced on behalf of the client.


           You agree that upon written notice the lawyers may terminate their representation in
   compliance with the rules regulating the Florida Bar.


           If you have any questions about any aspect of this letter-agreement, please ask before you
    sign it. If you do not have any questions, and the agreement is acceptable, please sign and date it
    in the space provided below. We look forward to working with you.

                                                           Sincere!


                                                                                          Qdy
                                       c£u2A^r -Sigttatnr^
                                                             ymt P GtoW
                                                           Printed Name



                                                           Date




    Agreed to by:
                         ^ Client. Signature
                                                                               &   'ate




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                                 ASSOCIATING ATTORNEY CLAUSE


   I understand and consent that the law firm of NORMAND PLLC is associated as counsel with
   Christopher Lynch and that a division of the applicable fees in this Agreement shall be made
   between these attorneys in proportion to the legal services to be performed and the responsibility
   assumed by each. I understanrLfhat actual legal services shall be performed by agreement of my
   attorneys, wattle legal responsibility/Shall be shared equally.


   Date             'J,
   NORMAND PLLC


   BY                                                           Iftrvthaiw £ (holo
      Client                                                  Client


   BY
      Associating Attorney                                    Associating Atrorney



    BY                                                        rJMX                    jLalL
                                                                                     <W1
      Associating Attorney                                    Associating Attonrey        "


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                        NORLAND
                                                     P L L C


      Mlcah Bellamy
      1511 Hobson St
      Longwood FL 32750
      micahbellamy57 @gmail.com



      Re: AUTHORITY TO REPRESENT


      Dear Mr. Bellamy,

                                                                      ment through which we will investigate
             I am writing to set out the terms of the retainer agree
                                                       failing to pay you tag and dtle. By signing this
      and prosecute die actions that GEICO took by
                                                       firm of NORMAND PJXC as well as such
      letter-agreement, you will have retained the law
                                                         nafter "the lawyers") to represent you in the
      attorneys, as may work with us on this case (herei
                                                                                                    to
                                                    decide to file/amend the complaint, our plan is
      aforementioned matter. Should we ultimately
                                                      f of others similarly situated.
      pursue tliis matter on your behalf and on behal

                                                                   on a contingent basis. Tills means that you
               The lawyers will represent both you and the class
                                                                                                          ry,
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       will not be obligated to pay any of our attorneys'
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       whether through settlement or judgment or otherw
       cither you or the class.

                                                                  we will petition the court for an award of
               Should we achieve a recovery on behalf of a class,
                                                        will determine what to award, you agree that a fair-
       attorneys' fees and expenses. Although the court
                                                          the class would be one-third of the total recovery
       award of attorneys' fees from a fund recovered for
                                                    with interest.
       plus reimbursement of all costs and expenses

                                                                        d of awarding fees (number of hours
              Alternatively, should the court use the lodestar metho
                                                         award of fees would be a lodestar based on our
       worked times a multiplier), you agree that a fair
                                                         least three, plus the reimbursement of all our costs
       then-current hourly rates with a multiplier of at
                                                             be required to pay us more than half of what we
       and expenses with interest. In no event would you
                                                             on your behalf, you will not be required to pay us
       recover for you. If we do not recover any amount
                                                      amount whatsoever.
        any of our fees, costs, expenses or any other

                                                                          s a point where it is no longer viable or
                If class certification is denied, or* if the case reache
                                                                 the Class, the lawyers have no obligation to
        appropriate to prosecute this lawsuit on behalf of
                                                                 we do achieve a recovery for you individually, but
        represent you on an individual basis. However, if
                                                               seek to recover fees (plus costs and expenses
        not on behalf of the Class, then the lawyers will
                                                                  the delendant. You understand that if we settle
        previously advanced by the lawyers) directly from
                                                                      r from the defendant may significantly exceed
        your claims individually, the attorneys' fees we recove


                                                                                  32814-0036
                                 Mailing Address: P.O. Box 140036, Orlando, FL
                                                     McCro ry Place Suite 175, Orland o, FL 32803
                              Physical Address: 3165
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                                                                                                     e your
                                                     the same settlement agreement. That is becaus
     any amounts paid to you individually as part of
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                                                       your potential damages and potential recovery
     individual setdement amount, if any, is based on
                                                     demand that we make on the defend    ant to pay  our
     an individual basis. However, the basis for any
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     attorneys' fees is based on our hourly rates and/o
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     above. Under no circumstances will the lawyers
                                                       the entire amount of your setdement would be
     setdement. Rather, under an individual setdement,
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                                                                  may award against the opposing party an
              You understand that in certain actions the court
                                                          ed by the contingent fee agreement. In such cases,
      attorney's fee that may be greater than that provid
                                                                                                          the
                                                          r of the two and your attorneys agree to accept
      you agree that a reasonable fee shall be the greate
                                                      fees.
      greater fee as full compensation for attorney's

                                                                      ce, either to demonstrate your ability
              You understand that you may have to produce eviden
                                                             . This may include assisting with answering
      to be an adequate plaintiff, or to support your claims
                                                        giving oral testimony and/or appearing at trial, and
      written discovery, having your deposition taken,
                                                       stand and appreciate that you may object to an
      possibly producing physical evidence. We under
                                                         al information. We will vigorously oppose the
      opposing party's unchecked access to your person
                                                         and seek protective orders that limit any
      production of any irrelevant personal information
                                                                                                         nt
                                                       confidential information (including attorney-clie
      defendant's access to any evidence that contains
      communications) .

                                                                  to preserve evidence, including electronic
              You also understand that you have an obligation
                                                            ce that common sense would dictate is relevant
      evidence such as e-mails. You must preserve eviden
                                                       prior to destroying any evidence you believe might
      to your claims. You should conference with us
                                                            nic information such as e-mails.
      be relevant to your claims. This includes any electro

                                                                   ation to the lawyers, including your
               You also agree to provide up-to-date contact inform
                                                            you can readily be reached.
       current address, e-mail and telephone number where

                                                                   heirs and successors of each of the parties
                 Tills agreement is meant to bind and benefit the
                                                          the lawyers a lien on any claims, causes of action
       to tills agreement. To that end, you hereby grant
                                                               ent, judgment or otherwise, relating to the
       or recovery that you obtain, whether through settlem
                                                         upon the amount of our attorneys' fees, costs and
       subject of this agreement. The lien will be based
                                                              If we withdraw as your counsel purely out of
       expenses as set forth above. This lien will not apply
       our own choice.

                                                                 and read the Statement of Client's Rights
               You have, before signing this contract, received
                                                            . You have signed the statement and will have a
        and understand each of the rights set forth therein
                                                          by the undersigned attorney(s).
        copy to keep to refer to while being represented

                                                                     ation to the attorney(s) at any time within
                This contract may be cancelled by written notific
                                                               signed, as shown below, and if cancelled, the
        three (3) business days of the date the contract was
                                                              attorney(s) for the work performed during that
        client shall not be obligated to pay any fees to the
                                                           others in representation of the client, the attorncy(s)
        time. If the attorney(s) have advanced funds to
                                                           as they have reasonably advanced on behalf of the
        are entitled to be reimbursed for such amounts
                                                                AND PLLC may terminate their representation
        client. You agree that upon written notice, NORM
                                                             a Bar.
         in compliance with the rules regulating the Florid

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                                                                          greement, please ask before you
              If you have any questions about any aspect of this letter-a
                                                                ent is acceptable, please sign and date it in
     sign it. If you do not have any questions, and the agreem
                                                             g with you.
     the space provided below. We look forward to workin


                                                                Sincerely,




                                                                ALEX COUCH


                                                                       09/12/2018

                                                                Date




                                                                             09/12/2018
      Agreed to by:
                                                                                    Date
                              MICAH BELLAMY




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                                    ASSOCIATING ATTORNEY CLAU


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                                                of NORM AND PLLC is associated as couns
     I understand and consent that the law firm

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     division of the applicable fees in this Agree

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                                                 rmed and the responsibility assumed by each.
     proportion to the legal sendees to be perfo

                                                                                           while legal
                                                be performed by agreement of my attorneys,
     understand that actual legal sendees shall


      responsibility shall be shared equally.



                   09/12/2018
      Date.




              MICAH BELLAMY
      BY
                                                                     Signature
           Print



      BY
                                      (o/                       —

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                                                                      Signature
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                             IN THE UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION



     MICAH BELLAMY, ANTHONY COOK, and
     MAURICE JONES, et. al.


               Plaintiffs,

     v.

     GOVERNMENT EMPLOYEES INSURANCE
     COMPANY, GEICO GENERAL INSURANCE                                 CASE NO.: 6:17-cv-891-ORL-
     COMPANY,                                                                  40KRS

               Defendants.
     ______________________________________
     ANTHONY LORENTI and
     ASHLEY BARRETT, individually and on behalf
     of all others similarly situated,


               Plaintiffs,
     v.
     GEICO INDEMNITY COMPANY,                                         CASE NO. 6:17-cv-1755-ORL-
               Defendant.                                                       40DCI

     ______________________________________


               DECLARATION OF TRACY L. MARKHAM IN SUPPORT OF
          MOTION FOR AWARD OF ATTORNEY’S FEES AND SERVICE AWARDS
          Tracy L. Markham declares as follows, pursuant to 28 U.S.C. § 1746:

          I.        PRELIMINARY STATEMENT

          1. My name is Tracy L. Markham. I am over the age of majority, provide this declaration

                voluntarily, and it is based on personal knowledge.

                                                    1

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         2. I am the founding member and managing attorney of the Southern Atlantic Law Group,

                PLLC in St. Augustine, Florida, and am one of counsel of record representing Plaintiffs

                in the above-styled consolidated lawsuit.

         3. This declaration is submitted in support of the parties’ Motion for Approval of

                Attorneys’ Fees and Service Awards.

         4. I was certified by the Court as Counsel for the Class along with co-counsel in the above-

                captioned class action (the “Action”) on April 4, 2019. I have been actively involved

                in the prosecution of the Action, am intimately familiar with its proceedings, and have

                personal knowledge of the matters set forth herein based upon my active participation

                of the Action. If called as a witness, I could and would testify competently thereto.

         5. The purpose of this declaration is to set forth the basis for and background related to

                the application for attorney’s fees and expenses, why the application for attorney’s

                fees and expenses is reasonable and should be approved by the Court, as well as the

                basis for the Service Awards of class plaintiffs Lorenti and Barrett.

          II.      EXPERIENCE

         6. I graduated from Cornell University in 1985 with a Bachelor of Science Degree in

                Agriculture Economics. Thereafter, I went to Syracuse Law School, where I

                graduated summa cum laude. I was on law review, as well as the trial team.

                Following law school, I had a Federal Court clerkship with United States District

                Court Judge Thomas J. McAvoy, in the Northern District of New York from 1988 to

                1989. I became admitted to the NYS Bar in 1989.




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         7. From 1989 until approximately 1994, I practiced in upstate New York, where much

            of my practice included working for insurance companies, including insurance

            coverage issues. In 1994, I was also an adjunct professor at Cornell Law School.

         8. In 1994, I moved from upstate New York to the St. Augustine, Florida area. I also

            became a member of the Florida Bar. Between 1994 and 1996, I assisted in opening a

            staff counsel’s office of a nationally recognized insurance company in Jacksonville,

            Florida.

         9. In 1996, I opened the St. Augustine office of Avolio & Hanlon, P.C. which was a

            firm based primarily in New Jersey. I was the managing attorney of the St. Augustine

            office of Avolio & Hanlon, P.C. until February 2019. In February 2019, I became

            the founding member of Southern Atlantic Law Group, PLLC.

         10. I am a certified mediator by the Florida Supreme Court. I am also certified by the

            Department of Financial Services as a mediator to mediate disputes between insureds

            and insurance companies. In addition to the foregoing, I have taken an adjusting class,

            and have gained the title of Certified Adjuster, to further my knowledge base in areas

            involving insurance law. I have not taken any state licensing test, but merely have

            attended the class to gain additional knowledge in the field of insurance law.

         11. I have over 31 years of experience working as a lawyer in civil litigation in the States

            of Florida and New York, as well as in several Federal jurisdictions. I have

            represented both Plaintiffs and Defendants in all aspects of civil litigation, including

            trials, mediations, and appeals. Since 1996, much of the work I have done has been

            in representing Plaintiffs who have disputes with insurance companies, including

            numerous coverages matters.



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         12. For the last 24 years, I have represented Plaintiffs in various disputes involving

               insurance companies. My practice has focused on insurance issues including claims

               similar to the claims by Plaintiffs in the present case. I am an active volunteer with

               the St. Johns County Legal Aid group.

         13. I am admitted to practice in Florida and New York State Courts, the Middle District

               of Florida, the Southern District of Florida, the Northern District of Florida, and the

               Eleventh Circuit Court of Appeals.

         14. I developed the theory of the case and was co-lead counsel with Hall & Lampros in

               the class action Bastian et al. v. USAA Casualty Insurance Company et al., No. 3:13-

               cv-01454-TJC-MCR (M.D. Fla)class action alleging failure to USAA insurance

               companies to pay sales tax on total loss vehicles [including owned and leased

               vehicles] resulting in a settlement with a class benefit of over $50 million).

         15.    I am counsel of record in Roth v. GEICO General Ins. Co., Case No. 16-62942-

               Civ-DIMITROULEAS (S.D. Fla.), in which final judgment was entered on behalf

               of a certified class of GEICO total-loss insureds due to GEICO’s failure to include

               sales tax and title transfer fees in making ACV payments.

         16. I have been appointed class counsel in Joffe, et. al. v. Geico Indemnity Company et

               al., Case No. 18-61361-CIV-DIMITROULEAS (S.D. Fla.), which involves the non-

               payment of sales tax and title transfer fees for leased vehicles in making ACV

               payments.

         17. I was also counsel of record in Joyce v. Federated National Insurance Co., 228 So.

               3d 1122 (Fla. 2017), which involved a first party consumer claim in St. Johns

               County, Florida against a homeowner’s insurance company and resulted in a



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                consequential decision for all consumer claims, including insurance claims, as the

                Florida Supreme Court reaffirmed the right to a contingency fee multiplier.

         III.       BACKGROUND OF THE CASE

         18. Named Plaintiff and Class Representative Anthony Lorenti’s claim arose when he

                sought assistance from and complained to the undersigned Class Counsel, that

                Defendant Geico Indemnity Company was not paying him enough on his first-party

                total loss auto claim.

         19. I initially met Mr. Lorenti, the lead named plaintiff against Geico Indemnity

                Insurance Company, in 2017. Mr. Lorenti is a St. Augustine resident, and contacted

                me at the St. Augustine office. I am a full-time resident of St. Johns County Florida,

                and practice in St. Augustine Florida. Mr. Lorenti had no relationship with my law

                firm. Mr. Lorenti needed someone to help him that would work on a contingency fee

                basis.

         20. Mr. Lorenti consulted with me regarding concerns he had about the vehicle total loss

                payments he received from Geico Indemnity Company (hereinafter referred to as

                “Geico Indemnity”) one of the insurance companies under the GEICO umbrella. He

                was a Geico Indemnity insured, and his daughter had a car accident with his vehicle.

                Geico Indemnity determined the vehicle was a total loss. Mr. Lorenti believed he

                should have been paid additional sums on his total loss, including title transfer fees

                and tag transfer fees.

         21. I was aware that cases brought under Florida Statute Section 627.428 allow for the

                possibility of a multiplier, and that possibility did factor into my decision to try to

                help Mr. Lorenti. If I were successful under Florida Statute Section 627.428 I knew



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            that the Court would consider awarding a multiplier. I was very aware that

            undertaking an action against an insurance company the size of Geico Indemnity

            would involve much risk, significant time and resources, and require me to forego the

            opportunity to take other work. Under the circumstances I would not have agreed to

            undertake the representation of Mr. Lorenti without the possibility of a contingency

            fee risk multiplier.

         22. Upon analyzing Mr. Lorenti’s documents, including the insurance policy, as well as

            the Claim and Payment information, I realized that Geico Indemnity was not paying

            title transfer fees and tag transfer fees on his total loss vehicle. Further study of the

            claim documents and payment information revealed that Geico Indemnity was not

            paying tag and title fees as part of the actual cash value of the total loss. I also

            contacted Christopher Hall, of Hall and Lampros, LLC, who was co-counsel on

            Bastian et al. v. USAA Casualty Insurance Company et al., No. 3:13-cv-01454-TJC-

            MCR (M.D. Fla), which involved the issue of unpaid sales tax as part of actual cash

            value. We also consulted with Bradley Pratt from Pratt Clay to assist with our

            investigation and potential lawsuit, as we believed we would need many lawyers and

            many resources to successfully combat an insurance company such as Geico

            Indemnity, which was part of the largest auto insurance group in Florida.

         23. Together Mr. Hall, myself, Mr. Pratt and attorneys at Mr. Hall’s firm, investigated the

            claim by analyzing the insurance policy, total-loss settlement explanation letter,

            Market Valuation Report, claim documents, GEICO procedures in other cases,

            FLOIR documents and filing, as well as other insurer practices in the State of Florida.




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         24. Based on the language of the GEICO policy, which promised the “cost of

            replacement” in the event of a total loss, it appeared that tag and title fees were owed.

            Although no court had ruled that tag and title fees were owed as part of the actual

            cash value as defined under the GEICO policy, Class Counsel believed that a

            reasonable interpretation of the policy required the inclusion of title transfer fees and

            tag transfer fees as part of the actual cash value of a total loss vehicle.

         25. As part of my investigation in the GEICO Indemnity case, to help us determine what

            course of action to take, I began a review of prior client files to determine what other

            insurance companies were doing, and to determine whether GEICO’s adjustment

            method was commonly accepted practice within the insurance industry.

         26. After undertaking sufficient investigation to determine there was a viable case based

            upon the insurance contract at issue, Mr. Hall, Mr. Pratt and I needed to determine

            where the action would need to be brought, and ultimately determined the proper

            venue would be in the Middle District of Florida, in the Orlando division, based upon

            the specific factors in Mr. Lorenti’s case.

         27. On October 10, 2017, a Class Action Complaint (“CAC”) individually and on behalf

            of Florida first party total loss private passenger auto insureds against Geico

            Indemnity Company was filed. The complaint alleges that the Defendant breached

            automobile insurance policies issued to Plaintiff and members of the class by failing

            to include in payments for total loss vehicles an amount for title transfer fees and tag

            transfer fees. The CAC sought relief for breach of contract for both a Florida Class

            and a Nationwide class as well as Declaratory Judgment and Injunctive Relief.




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         28. In November, 2017, Class Action counsel agreed to a co-counsel relationship with

            attorneys from Ed Normand’s law firm, including Jacob Phillips and with attorney

            Chris Lynch, who were involved in an action against Government Employees

            Insurance Company and Geico General Insurance Company, entitled Sullivan et. al.

            v. Government Employees Insurance Co., et. al., 6:17-cv-891-Orl-40KRS, to further

            consolidate resources to attempt to bring both class action matters to a successful

            conclusion. The actions involved the same essential issue which was whether Geico

            (which is used collectively to include all Geico defendants) breached its contract of

            insurance by failing to pay title transfer fees and tag transfer fees to its own insured

            who suffered a total loss.

         29. After the filing of the Class Action Complaint, I was retained by lead named plaintiff

            Ashley Barrett, who had similar complaints against GEICO Indemnity. Ms. Barrett

            had no prior relationship with my firm. Ms. Barrett needed someone to help her that

            would work on a contingency fee basis. Ms. Barrett had concerns about her vehicle

            total loss payments from Geico Indemnity Company (hereinafter referred to as

            “Geico Indemnity”). She agreed to be a class plaintiff, along with Mr. Lorenti. On

            January 8, 2018, a First Amended Class Action Complaint for Damages, Injunctive

            and Declaratory Relief was filed, as well as a demand for a jury trial.

         30. Both retainer contracts with Mr. Lorenti, and with Ms. Barrett, which are attached

            hereto as Exhibit B, provide that the case was undertaken on a pure contingency

            basis. The plaintiffs had no responsibility for attorney’s fees or costs of any type if

            the cases proved unsuccessful.




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         31. I have devoted a significant amount of time and resources in the research, investigation,

            and prosecution of this Action.

         32. Since undertaking this case, I have been directly involved in all aspects of its

            prosecution. I have been involved in the investigation, discovery, legal research, case

            strategy, drafting of pleadings, motions and briefs, document review, as well as

            appearing at depositions in person and by phone. The time that I have spent is further

            detailed in the billing record summary attached as Exhibit C.

         33. There were aspects of the case where my participation, including at the defendant

            representative depositions, as well as review of the data and insurance policies

            produced, was extremely helpful in determining the complex core issues of the case.

            This included data in various Geico data sets and procedures. I personally reviewed

            and analyzed thousands of documents produced in discovery.

         34. I was the attorney contact for the named plaintiffs, Anthony Lorenti and Ashley Barrett.

            I prepared the lead plaintiffs, Anthony Lorenti, and Ashley Barrett for their depositions,

            as well as attended the depositions. I prepared many aspects of the discovery responses

            including interrogatory responses, as well as document production.

         35. I was present by phone and in person and assisted other attorneys in the depositions of

            key Geico witnesses, including several 30 (b) (6) witnesses. My attendance was

            necessary to have a comprehensive understanding of the data and was important to

            assist in understanding the potential for further discovery as well as to cross check the

            discovery provided to ensure its completeness. I also provided assistance by providing

            advice on areas to be followed up on during the examinations, and additional areas of

            inquiry.



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         36. I actively contributed to the research, drafting, and editing that was done in the motion

            for class certification and summary judgment for the Plaintiffs, as well as the discovery

            motions.

         37. I also had contact with the Department of Motor Vehicles and undertook numerous

            Florida Public Records Act to obtain public records information in an effort to support

            Plaintiffs’ claims regarding mandatory fees.

         38. I also helped to analyze the vehicle data to help identify ownership issues, which went

            to the central issue of ascertainability of the class.

         39. I have kept contemporaneous time records on this case. I have spent over 553.6 hours

            in this case from May 26, 2017 through the May 27, 2020. In my practice, I keep

            detailed records of all time expended in these types of cases as well as detailed records

            of all expenses incurred. The time was calculated at $ 600.00 per hour, which is

            reasonable and within the range of rates charged by lawyers of similar skill and

            experience who practice in Florida. The value of the time is $ 332,160. I expect to

            record additional time in this matter in preparation for the Final Approval hearing and

            in conjunction with the claims process that is not reflected in the time records.

         40. I did not bill for hundreds of emails that I reviewed in this case, as I self-adjusted prior

            to submitting my times sheets. I also did not bill for every pleading or order that I

            reviewed. I billed for time that I would have charged to a paying client.

         41. In addition to my time, there was also the time of Lawrence Roselle, Jr. who is a case

            manager, and performed work of a paralegal nature on the case which specifically

            involved searching for and analyzing over 1,666 vehicle titles in Excel format. This

            work was crucial for the issue of class member identification. Mr. Roselle has a



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            Bachelor of Science in finance from LSU, is a former CEO of a bank, with 40 years of

            financial and data analysis, including extensive experience in analyzing data in Excel

            format. Mr. Roselle spent 20.50 hours. The time was calculated at $ 150.00 per hour,

            which is reasonable and within the range of rates charged by paralegals of similar skill

            and experience in Florida. The value of the time is $ 3,075.

         42. An itemized time summary is set forth in Exhibit C. Itemized redacted time sheets

            have been provided to expert Melvin Wright and are available for review.

         43. My firm has also invested substantial resources in the prosecution of this matter. An

            itemization of the expenses, which included public record requests, motor vehicle title

            searches, transcript costs, filing fees, court reporter fees, and other case related

            expenses is set forth in Exhibit D. The costs expended by my firm were $ 4,283.58.

         44. My work on this case has been purely contingent in nature. I have received no

            compensation for my time to date and will not receive any fees other than as awarded

            by the Court.

         IV. SERVICE AWARDS

         45. Mr. Lorenti deserves a service award for the assistance he provided in helping the

            class obtain a substantial benefit. Mr. Lorenti assisted in every phase of prosecution

            of the case. He gathered documents to assist counsel in prosecuting the case. He also

            answered written discovery. He sat for an extensive deposition, while missing work.

            Mr. Lorenti traveled to a protracted mediation in Maitland, Fl. on December 17,

            2018. He actively participated in the first mediation further missing work. Mr.

            Lorenti participated in a second mediation on September 13, 2019, when he appeared

            by phone and actively assisted counsel. Mr. Lorenti is self-employed, so time from



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                            Exhibit 2




                                                                    EXHIBIT B
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                           IN THE UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

      ANTHONY COOK, MICAH BELLAMY, and
      MAURICE JONES, As Personal Representative                            CASE NO.: 6:17-cv-
      and on behalf the Estate of Kailyn Jones,                             891-ORL- 40KRS
      each individually and on behalf of all others
      similarly situated,

            Plaintiffs,
      v.

      GOVERNMENT EMPLOYEES
      INSURANCE COMPANY and GEICO
      GENERAL INSURANCE COMPANY,

           Defendant.
      ____________________________________/

      ANTHONY LORENTI and ASHLEY BARRETT,                                   CASE NO.: 6:17-cv-
      Individually and on behalf of all others similarly                     1755-PGB- 40DCI
      situated,

            Plaintiffs,
      v.

      GEICO INDEMNITY COMPANY,

           Defendant.
      ____________________________________/

                          DECLARATION OF CHRISTOPHER B. HALL

             1.      My name is Christopher B. Hall. I am over the age of majority, provide this

      declaration voluntarily, and it is based on personal knowledge.

             2.      I am a partner in the law firm Hall & Lampros, LLP (“Hall & Lampros”)

      and am one of counsel of record representing Plaintiffs in the above-styled lawsuit.

             3.      I have been licensed to practice law in the State of Georgia since 1996.

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             4.     This declaration is submitted in support of the parties’ Motion for

      Attorneys’ Fees and Expenses and Service Award in the above-styled matter.

                            Time and Resources Expended on the Case

             5.     Five lawyers, and multiple legal assistants from Hall & Lampros have

      worked on this matter. The firm tries not to duplicate efforts to be efficient and because

      the firm takes matters on a contingency basis. I served as lead partner in the case for

      the firm. Andrew Lampros also performed substantial work on the case including the

      taking of depositions. Associate Gordon Van Remmen also performed substantial

      work on the case.

             6.     To date, Hall & Lampros’ lawyers and paralegals have spent a total of

      2,089.20 hours having a value of $1,447,510 from September 2017 through the

      present, calculated at our firm's current customary hourly rates for this type of matter.

      These hours reflect an exercise of billing judgment so that all hour incurred actually

      are not billed. After exercising billing judgment, the amount of time recorded by each

      lawyer and law clerk and their billing rates are as follows:

       Timekeeper           Position      Rate             Hours                 Total
       Hall, Chris          Partner       $ 750.00       1332.6      999,450
       Lampros, Andrew      Partner       $ 750.00       378.7       284,025
       Patrick Hannon       Partner       $ 550.00       7.7         4235
       Van Remmen,          Associate     $ 450.00       344.40      154980
       Gordon
       Barto , Brittany     Law Clerk     $    250.00    9.50        2375
       Mensah, Ligia        Law Clerk     $   150.00     16.3        2445
       Total                                             2089.2      1447510


             7.     The above hours do not include substantial time reviewing various


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      communications, emails, and Court orders. I believe that the rates set forth above are

      reasonable and commensurate with, if not lower than, rates charged by lawyers in the

      Orlando, Florida area handling similar types of complex class action matters. The time

      recorded by the firm’s lawyers and staff make efforts to ensure that there is duplication

      of efforts or unreasonable time entries.

             8.      Hall & Lampros, LLP has expended reasonable costs in this matter of

      $44,267.13. These costs are itemized in the attached Exhibit A.

             9.      Due to the substantial time commitment, Hall & Lampros forewent other

      fee and profit-generating opportunities in pursuit of this case. Given the substantial time

      and efforts needed for a case of this type, Hall & Lampros would not have taken on this

      case without the opportunity for a multiplier.

             10.     Chris Hall’s efforts in this case amounted to approximately 30% of his total

      hours worked during the period January 1, 2018 through the present. Chris Hall’s efforts

      were directed to written discovery, data analysis, insurance coverage expertise (including

      expertise from the Bastian matter and providing coverage defense work earlier in his career

      at Lord, Bissell, & Brook), expertise in complex computer systems and working with

      substantial data (from Bastian and Medco matters, infra), and extensive work briefing on

      all matters submitted to the Court. Chris Hall has detailed knowledge relating to all of the

      over one dozen sets of Excel data produced containing over 200 computer fields and over

      2 million lines of data. Chris Hall personally reviewed almost all of the documents

      produced in this lawsuit. Chris Hall was the primary lawyer involved in the back and forth

      process between the parties to identify the class members and damages. Chris Hall also


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      was the primary lawyer who worked with class action administrator KCC Class Action

      Services, LLC to accomplish the notice design, negotiate notice process with opposing

      counsel, and worked with KCC in the execution of the notice and supplemental notice.

                             Hall & Lampros, LLP Lawyers’ Experience

             11.     Chris Hall is a founding member of Hall & Lampros. Mr. Hall‘s practice

      focuses on class action and complex litigation. He has over 23 years of experience

      practicing law. He received his JD from the University of Georgia School of Law, cum

      laude, in 1996. He received his BA from the University of Virginia in 1991.

             12.     Chris Hall also has extensive experience in insurance coverage litigation.

      Mr. Hall for eight years practiced with the national law firm of Lord, Bissell & Brook (now

      Locke Lord Bissell & Lidell), where much of his work included representing insurers in

      insurance coverage litigation. After, Lord Bissell, Mr. Hall was a founding partner of Cook,

      Hall & Lampros (now Hall & Lampros) litigating complex plaintiffs cases involving

      antitrust, RICO, insurance coverage class actions, consumer class actions, and unfair

      business practices. Mr. Hall has been recognized as a top lawyer by Georgia Trend.

             13.     Mr. Hall served as co-lead class counsel in the following class actions:

      Bastian et al. v. USAA Casualty Insurance Company et al., No. 3:13-cv-01454-TJC-MCR

      (M.D. Fla.)(settlement with common fund of over $30 million and class benefits of over

      $50 million on behalf of total loss auto insureds for USAA’s failure to pay sales tax on

      total loss claims); Blessing v. Sirius XM Radio, Inc., No. 1:09-cv-10035 (S.D.N.Y.) (Mr.

      Hall developed the case theories and was co-lead class counsel in this antitrust, breach of

      contract, and consumer protection class action resulting in settlement valued at $180


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      million on behalf of class); WV Attorney General, ex rel. Darrell McGraw v. Wells Fargo

      Ins. Services, et al., No. 05-c-115-W, Hancock County, West Virginia (Mr. Hall was co-

      lead counsel and Special Assistant Attorney General representing the State of West

      Virginia against Wells Fargo alleging antitrust violations relating to insurance practices,

      which settled in 2016 for $8 million) Medco Health Solutions, Inc. et al. v. West Virginia

      Public Employees Insurance Agency, 02-c-2764, Circuit Court of Kanawha County, West

      Virginia (Mr. Hall was co-lead counsel and Special Assistant Attorney General

      representing public health insurance agency with approximately 180,000 covered lives in

      breach of contract and fiduciary duty counterclaims against Pharmacy Benefit Manager

      resulting in $5.5 million settlement); DeKalb Tire Co., Inc. v. Michelin North America,

      Inc., 97-CV-2300, USDC Northern District of Georgia (Mr. Hall was co-lead counsel in

      antitrust Robinson-Patman Act lawsuit for price discrimination in the sale of tires resulting

      in multi-million dollar settlement). Mr. Hall also has tried numerous cases, including two

      cases resulting in multi-million dollar verdicts.

             15.     Andrew Lampros is a founding member of Hall & Lampros, LLP. Mr.

      Lampros graduated from Wake Forest University School of Law in 1999 and has been

      practicing law since then. He was admitted to practice in Tennessee in 1999 and in Georgia

      in 2000. After graduating from law school, Mr. Lampros practiced insurance litigation for

      approximately four (4) years handling both liability and coverage matters and tried a

      number of cases to jury verdict. In 2003, he began a plaintiffs’ practice and has litigated

      and tried numerous cases on behalf of individuals and small businesses in individual and

      representative capacities. Mr. Lampros has tried numerous cases to jury verdict in both


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      state and federal courts recovering millions of dollars on behalf of his clients. Mr. Lampros

      has been recognized as a Super Lawyer and as one of Georgia Trend’s legal elite for the

      state of Georgia. He has served as lead counsel or co-lead counsel in numerous collective

      actions brought pursuant to the FLSA.

             16.     Mr. Lampros was actively involved in the Bastian v. USAA lawsuit. He has

      particular expertise in complex data systems and insurance coverage and deposed witnesses

      in this case relating to data and coverage issues. He also was involved and handled data

      analysis, drafting and revising pleadings, motions, briefs, hearing preparation and

      communications with experts and opposing counsel.

             17.     Patrick Hannon is a partner at Hall & Lampros. He has been practicing law

      for over 19 years. He worked for the law firm Lord, Bissell & Brook before joining the

      predecessor to Hall & Lampros. He has extensive experience in complex litigation,

      including class actions.

             18.     Gordon Van Remmen is an associate at Hall & Lampros, who is a 2015

      graduate of the University of Georgia School of Law. He has been a member of the bar

      since 2015, and has focused on class action and employment litigation. Mr. Van Remmen

      has experience litigating in the Bastian case and other class action matters. Mr. Van

      Remmen was involved in editing, cite checking, legal research, and revisions for most of

      the briefing in this case submitted in 2018 and 2019. He also played a large and detailed

      role in data analysis and checking motor vehicle reports for leased vehicle status.

             19.     Brittany Barto is an associate at Hall & Lampros, who is a 2019 graduate

      from the Georgia State University School of Law.


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            Further declarant sayeth not.

            I declare under penalty of perjury that the foregoing is true and correct.

            Dated 2nd day of June, 2020.



                                                   /s/Christopher B. Hall
                                                   Christopher B. Hall




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                      EXHIBIT A
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                                        Lorenti et al. v. GEICO
                                          H L Case Expenses
Date          Description                                                      $ Amount
10/1/2018     USDC - PHV Fee                                                   $150.00
10/3/2018     Travel - Matt Baer Depo (flight, hotel & meals)                  $820.81
10/8/2018     Court reporter - Jeffrey Martin                                  $679.84
10/15/2018    Court reporter - J. Thompson                                     $899.15
10/22/2018    Travel - Lorenti depo (Flight)                                   $656.40
10/22/2018    Travel - Lorenti depo (hotel)                                    $283.21
10/23/2018    Court reporter - Anthony Lorenti                                 $390.65
10/23/2018    Travel - Lorenti depo (rental car)                               $164.16
10/23/2018    Travel - L. Mitchell depo (flight, hotel & meals)                $849.73
10/25/2018    Travel - Antonacci depo (hotel)                                  $1,324.28
10/29/2018    Data - VINs                                                      $2,000.00
11/27/2018    J. Martin - Expert                                               $13,600.00
11/27/2018    Travel - Thompson depo (mileage)                                 $101.75
12/5/2018     Travel - T. Penry depo (flight, hotel & meals)                   $1,987.80
1/11/2019     Court reporter - Hough                                           $751.70
1/11/2019     Travel - Hough depo (add'l hotel charge)                         $148.29
1/11/2019     Travel - Hough depo (flight, hotel & meals)                      $1,369.89
4/2/2019      Travel - Orlando Class Cert (flight)                             $614.60
4/2/2019      Travel - Orlando Class Cert (add'l airline charge)               $407.98
4/19/2019     Court reporter - Jeffrey Martin                                  $902.82
6/4/2019      Data - VINs                                                      $98.00
6/28/2019     J. Martin - Expert                                               $6,600.00
8/13/2019     Data - VINs                                                      $1,082.50
9/12/2019     Travel - mediation (meals -4 counsel)                            $132.21
9/12/2019     Travel - mediation (meals -2 counsel)                            $25.87
9/12/2019     Travel - mediation (add'l hotel charge)                          $4.00
9/12/2019     Travel - mediation (hotel)                                       $111.87
9/12/2019     Travel - mediation (hotel)                                       $111.87
9/12/2019     Travel - mediation (flight)                                      $463.60
9/13/2019     Travel - mediation (airline change fee)                          $35.00
9/13/2019     Travel - mediation (airline change fee)                          $55.00
              Travel - mediation (add'l airline charge - changed flights due
9/13/2019     to time)                                                         $398.29
              Travel - mediation (add'l airline charge - changed flights due
9/13/2019     to time)                                                         $398.29
9/13/2019     Travel - mediation (airline change fee)                          $50.00
9/13/2019     Travel - mediation (airline change fee)                          $50.00
9/13/2019     Travel - mediation (meals - 2 counsel)                           $85.58
9/13/2019     Travel - mediation (rental car)                                  $144.76
10/9/2019     J. Martin - Expert                                               $6,200.00
10/28/2019    Fedex                                                            $49.02
10/28/2019    Fedex                                                            $68.21
              TOTAL                                                            $44,267.13
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    From:           cmecf_flmd_notification@flmd.uscourts.gov
    To:             cmecf_flmd_notices@flmd.uscourts.gov
    Subject:        Activity in Case 6:17-cv-00891-PGB-KRS Sullivan et. al v. Government Employees Insurance Company Pro Hac
                    Vice Fees paid
    Date:           Tuesday, October 02, 2018 3:27:32 PM




    This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT
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                                                U.S. District Court

                                           Middle District of Florida

    Notice of Electronic Filing

    The following transaction was entered on 10/2/2018 at 3:26 PM EDT and filed on 10/2/2018
    Case Name:           Sullivan et. al v. Government Employees Insurance Company
    Case Number:         6:17-cv-00891-PGB-KRS
    Filer:               Anthony Lorenti
    Document Number: No document attached

    Docket Text:
    ***PRO HAC VICE FEES paid by attorney Christopher B Hall, appearing on
    behalf of Anthony Lorenti (Filing fee $150 receipt number ORL77321.) Related
    document: [91] MOTION for Christopher B. Hall to appear pro hac vice. (RCN)


    6:17-cv-00891-PGB-KRS Notice has been electronically mailed to:

    Susan Banks Harwood susan.harwood@kaplanzeena.com,
    ivonne.gayon@kaplanzeena.com, service@kaplanzeena.com

    Edmund A. Normand ed@ednormand.com, NormandPLLC@ecf.courtdrive.com,
    service@ednormand.com

    Tracy Lynne Markham tlmarkhamlaw@gmail.com, pleadingsonly@avoliohanlonfl.com,
    tlm@avoliohanlonfl.com

    Christopher J. Lynch      clynch@hunterlynchlaw.com, lmartinez@hunterlynchlaw.com

    Amelia Toy Rudolph amyrudolph@eversheds-sutherland.com, amy-rudolph-
    1418@ecf.pacerpro.com, danielkent@eversheds-sutherland.com

    Bradley W. Pratt     bradley@prattclay.com, james@prattclay.com, san@prattclay.com,
Case 6:17-cv-00891-PGB-LRH Document 210-2 Filed 06/02/20 Page 68 of 156 PageID 8262


    tammy@prattclay.com

    Kymberly Kochis kymberlykochis@eversheds-sutherland.com, lindakwong@eversheds-
    sutherland.com, stephaniekeating@eversheds-sutherland.com

    Jacob Lawrence Phillips   jacob@ednormand.com, thomas@ednormand.com

    Peter Andrew Lampros alampros@hallandlampros.com, admin@hallandlampros.com,
    pal@hallandlampros.com

    Alexander Fuchs alexfuchs@eversheds-sutherland.com, lindakwong@eversheds-
    sutherland.com, stephaniekeating@eversheds-sutherland.com

    6:17-cv-00891-PGB-KRS Notice has been delivered by other means to:
  Case 6:17-cv-00891-PGB-LRH Document 210-2 Filed 06/02/20 Page 69 of 156 PageID 8263




Subject:                 FW: Your Flight Receipt - CHRISTOPHER BAKE HALL 02OCT18




     Hello, CHRISTOPHER BAKE                                                    SkyMiles #*******836 >
                                                                                           ®




     Your Trip Confirmation #: GZL3HP


           You're all set. If you need to adjust your itinerary, you can make standard changes to your
           flight on delta.com including time, date and destination. Explore all of your options here.


     Tue, 02OCT                           DEPART                               ARRIVE

     DELTA 186                             ATLANTA                             ORLANDO INTL, FL
     Main Cabin (H)
                                           5:00pm                              6:27pm

     Wed, 03OCT                           DEPART                               ARRIVE

     DELTA 2586                            ORLANDO INTL, FL                    ATLANTA
     Main Cabin (H)
                                           4:25pm                              6:01pm




           TSA CHANGES - ARRIVE EARLY
           Please be aware of the recent changes to TSA screening procedures, including the requirement to
           place powder-like substances over 12oz./350ml in your checked bag when traveling on an
           international flight to the United States. For more information on powder restrictions, visit
           delta.com.

           In addition to these changes, many airports are experiencing a high volume of travelers, resulting
           in long check-in, baggage drop and security checkpoint lines. Please plan to arrive at the airport
           at least 2 hours prior to your departure when traveling domestically (within the U.S) and at least
           3 hours prior to your departure when traveling internationally. We also encourage passengers to
           check-in online at delta.com or via the Fly Delta app to help avoid delays.


           NEW SERVICE & SUPPORT ANIMAL REQUIREMENTS




                                                                       1
Case 6:17-cv-00891-PGB-LRH Document 210-2 Filed 06/02/20 Page 70 of 156 PageID 8264


     Delta welcomes trained service animals, including psychiatric service and emotional support
     animals on our flights. Effective March 1, 2018 we are changing our requirements. For these
     requirements please go to: delta.com/animals.


     AUTOMATIC CHECK-IN NOW AVAILABLE
     We've added Automatic Check-In to the Fly Delta app to save you time and hassle. This means if
     you're traveling in the United States, Puerto Rico or the U.S Virgin Islands, we'll automatically
     check you in 24 hours prior to your scheduled departure. Just open the app and you'll be on your
     way. Don't have the app? Click here to download. Learn more about automatic check-in.


     RESTRICTED HAZARDOUS ITEMS
     To ensure the safety of our customers and employees, Delta will no longer accept smart
     bags starting January 15, 2018. Smart bags with non-removable lithium-ion batteries
     will not be permitted as carry-on or checked baggage on any Delta mainline or Delta Connection
     flight. For more information, please visit our News Hub.

     Hoverboards or any lithium battery powered self-balancing personal transportation devices are
     also not permitted as both carry-on and checked baggage.

     Spare batteries for other devices, fuel cells, and e-cigarettes are permitted in carry-on baggage
     only. If your carry-on bag contains these items and is gate checked, they must be removed and
     carried in the cabin. Further information and specific guidelines regarding restricted items can be
     found here.


  Passenger Info

  NAME                                                            FLIGHT                        SEAT
  CHRISTOPHER BAKE HALL                                           DELTA 186                     16E
  SkyMiles #*******836                                            DELTA 2586                    23B


  Visit delta.com or use the Fly Delta app to view, select or change your seat.
  If you purchased a Delta Comfort+™ seat or a Trip Extra, please visit My Trips to access a receipt
  of your purchase.



  Flight Receipt

  Ticket #: 0062341731825

  Place of Issue: Delta.com

  Ticket Issue Date: 28SEP18

  Ticket Expiration Date: 28SEP19


  METHOD OF PAYMENT

  CA************1027                                                                        $650.40 USD




  CHARGES



                                                                  2
Case 6:17-cv-00891-PGB-LRH Document 210-2 Filed 06/02/20 Page 71 of 156 PageID 8265


  Air Transportation Charges

  Base Fare                                                                                               $578.60 USD

  Taxes, Fees and Charges

  United States - September 11th Security Fee(Passenger                                                     $11.20 USD
  Civil Aviation Security Service Fee) (AY)

  United States - Transportation Tax (US)                                                                   $43.40 USD

  United States - Passenger Facility Charge (XF)                                                             $9.00 USD

  United States - Flight Segment Tax (ZP)                                                                    $8.20 USD

  TICKET AMOUNT                                                                                         $650.40 USD


  This ticket is non-refundable unless the original ticket was issued at a fully refundable fare. Some fares may not allow
  changes. If allowed, any change to your itinerary may require payment of a change fee and increased fare. Failure to
  appear for any flight without notice to Delta will result in cancellation of your remaining reservation.

  Note: When using certain vouchers to purchase tickets, remaining credits may not be refunded. Additional charges
  and/or credits may apply.

  Fare Details: ATL DL ORL289.30HA0RA0MA DL ATL289.30HA0RA0MA USD578.60END ZP ATLMCO XF ATL4.5MCO4.5


  Checked Bag Allowance

  The fees below are based on your original ticket purchase. If you qualify for free or
  discounted checked baggage, this will be taken into account when you check in.

    Tue 02 Oct 2018                                 DELTA: ATL MCO


    CARRY ON                                        FIRST                                 SECOND



    FREE                                            $30USD                                $40USD


     Visit delta.com for details on baggage embargos that may apply to your itinerary.




    Wed 03 Oct 2018                                 DELTA: MCO ATL


    CARRY ON                                        FIRST                                 SECOND



    FREE                                            $30USD                                $40USD


     Visit delta.com for details on baggage embargos that may apply to your itinerary.




  Transportation of Hazardous Materials




                                                                           3
Case 6:17-cv-00891-PGB-LRH Document 210-2 Filed 06/02/20 Page 72 of 156 PageID 8266


  Federal law forbids the carriage of hazardous materials aboard aircraft in your luggage or on your person. A violation
  can result in civil penalties. Examples include: Paints, aerosols, lighter fluid, fireworks, torch lighters, tear gases and
  compressed gas cartridges.

  There are special exceptions for small quantities (up to 70 ounces total). For further information visit
  delta.com Restricted Items Section.



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  BOOK YOUR SUMMER GETAWAY. ›

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  delta.com/sustainability to calculate your CO2 emissions and learn more about offsetting.


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  appear for any flight without notice to Delta will result in cancellation of your remaining reservation.

  Note: When using certain vouchers to purchase tickets, remaining credits may not be refunded. Additional charges
  and/or credits may apply.


  Checked Bag Allowance

  *On Delta operated flights, you may carry on one bag and a small personal item at no charge.

  Delta One™/First/Business Class weight allowance reverts to 50 lbs for all checked bags beyond regular free
  allowance.

  At the time of check in with Delta, SkyMiles Medallion members, SkyTeam Elite & Elite Plus and active US Military
  personnel are eligible for fee waivers and other benefits. For more details, visit delta.com/baggage. Basic
  Cardmembers with a Gold, Platinum, or Reserve Delta SkyMiles Credit Card from American Express are eligible for
  the first bag fee waiver. More details on the program can be found at delta.com/firstbagfree.

  A standard checked bag with Delta may be up to 50 lbs and 62 linear inches (per piece). Additional fees apply for
  oversize, overweight, and/or additional pieces of checked baggage. Please review Delta's baggage guidelines for
  details. Weight and size restrictions may vary when checking baggage on carriers other than Delta. Contact with the
  operating carrier for detailed checked baggage allowances. You must be checked in at the gate by the applicable
  check-in deadlines or your reservation may be cancelled. Please review Delta's check-in requirement guidelines for
  details. Check-in requirements vary by airline, so if your ticket includes travel on other airlines, please check with the
  operating carrier on your ticket.

  Do you have comments about our service? Please email us to share them.

  Conditions of Carriage

  Air transportation on Delta and the Delta Connection® carriers is subject to Delta's conditions of carriage. They
  include terms governing for example:


  • Limits on our liability for personal injury or death of passengers, and for loss, damage of delay of goods and
  baggage.
  • Claim restrictions including time periods within which you must file a claim or bring action against us.




                                                                              4
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  • Our right to change terms of the contract.
  • Check-in requirements and other rules established when we may refuse carriage.
  • Our rights and limits of our liability for delay or failure to perform service including schedule change, substitution of
  alternative air carriers or aircraft, and rerouting.
  • Our policy on overbooking flights, and your rights if we deny you boarding due to an oversold flight.


  These terms are incorporated by reference into our contract with you. You may view these conditions of carriage on
  delta.com, or by requesting a copy from Delta.

  You have received this email because you elected to receive your Electronic Ticket receipt sent to you via email. If
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                                                                             5
                                                                                                   HILTON GARDEN INN LAKELAND
 Case 6:17-cv-00891-PGB-LRH Document 210-2 Filed 06/02/20 Page  74EMERSON
                                                          3839 DON of 156 PageID
                                                                          DRIVE  8268
                                                                                                        LAKELAND, FL 33811
                                                                                                        United States of America
                                                                                           TELEPHONE 863-647-0066         FAX 863-646-5195
                                                                                                                Reservations
                                                                                                   www.hilton.com or 1 800 HILTONS
HALL, CHRISTOPHER                                                              Room No:                             343/Q2
                                                                               Arrival Date:                        10/2/2018 12:07:00 AM
HALL LAMPROS, LLP                                                              Departure Date:                      10/3/2018 12:02:00 PM
1230 PEACHTREE ST NE STE 950                                                   Adult/Child:                         1/0
ATLANTA GA 30309-7538                                                          Cashier ID:                          TJOHNSON79
UNITED STATES OF AMERICA                                                       Room Rate:                           150.00
                                                                               AL:                                  DL 2209314836
                                                                               HH #                                 854364511 BLUE
                                                                               VAT #
                                                                               Folio No/Che                         240002 A

Confirmation Number: 3486626996

HILTON GARDEN INN LAKELAND 10/3/2018 12:01:00 PM

DATE           DESCRIPTION                                         ID         REF NO           CHARGES               CREDIT           BALANCE
10/2/2018      GUEST ROOM                                      CDEATON           1161823             $150.00
10/2/2018      RM-STATE TAX                                    CDEATON           1161823              $10.50
10/2/2018      RM-LODGING TAX                                  CDEATON           1161823                $7.50
10/2/2018      AIRPORT CONCESSION FEE                          CDEATON           1161823                $2.41
10/3/2018      MC *1027                                        TJOHNSO           1161955                                  ($170.41)
                                                               N79
                                                                              **BALANCE**                                                $0.00


EXPENSE REPORT
SUMMARY
                      10/2/2018          STAY TOTAL
ROOM AND TAX          $170.41            $170.41
DAILY TOTAL           $170.41            $170.41




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*****PLEASE BE ADVISED THAT OUR AIRPORT CONCESSION FEE INCLUDES APPLICABLE SALES TAX*****



CREDIT CARD DETAIL
APPR CODE                           004984                              MERCHANT ID                         701412973
CARD NUMBER                         MC *1027                            EXP DATE                            03/22
TRANSACTION ID                      1161955                             TRANS TYPE                          Sale




                                                                    Page:1
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Case 6:17-cv-00891-PGB-LRH Document 210-2 Filed 06/02/20 Page 76 of 156 PageID 8270
Case 6:17-cv-00891-PGB-LRH Document 210-2 Filed 06/02/20 Page 77 of 156 PageID 8271
Case 6:17-cv-00891-PGB-LRH Document 210-2 Filed 06/02/20 Page 78 of 156 PageID 8272
Case 6:17-cv-00891-PGB-LRH Document 210-2 Filed 06/02/20 Page 79 of 156 PageID 8273
Case 6:17-cv-00891-PGB-LRH Document 210-2 Filed 06/02/20 Page 80 of 156 PageID 8274
  Case 6:17-cv-00891-PGB-LRH Document 210-2 Filed 06/02/20 Page 81 of 156 PageID 8275




Subject:                 FW: Your Flight Receipt - CHRISTOPHER BAKE HALL 22OCT18




     Hello, CHRISTOPHER BAKE                                                    SkyMiles #*******836 >
                                                                                           ®




     Your Trip Confirmation #: GJSEV5


           You're all set. If you need to adjust your itinerary, you can make standard changes to your
           flight on delta.com including time, date and destination. Explore all of your options here.


     Mon, 22OCT                           DEPART                              ARRIVE

     DELTA 504                            ATLANTA                             NEWARK, NJ
     Delta Comfort+® (W)
                                          7:54pm                              10:09pm

     Tue, 23OCT                           DEPART                              ARRIVE

     DELTA 5940*                          NYC-LAGUARDIA                       WASHINGTON-REAGAN
     First Class (A)
                                          4:59pm                              6:24pm

     Thu, 25OCT                           DEPART                              ARRIVE

     DELTA 1425                           BALTIMORE, MD                       ATLANTA
     Delta Comfort+® (W)
                                          2:54pm                              4:48pm

    *Flight 5940 Operated by REPUBLIC AIRLINE DBA DELTA CONNECTION


           TSA CHANGES - ARRIVE EARLY
           Please be aware of the recent changes to TSA screening procedures, including the requirement to
           place powder-like substances over 12oz./350ml in your checked bag when traveling on an
           international flight to the United States. For more information on powder restrictions, visit
           delta.com.

           In addition to these changes, many airports are experiencing a high volume of travelers, resulting
           in long check-in, baggage drop and security checkpoint lines. Please plan to arrive at the airport
           at least 2 hours prior to your departure when traveling domestically (within the U.S) and at least



                                                                       1
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     3 hours prior to your departure when traveling internationally. We also encourage passengers to
     check-in online at delta.com or via the Fly Delta app to help avoid delays.


     NEW SERVICE & SUPPORT ANIMAL REQUIREMENTS
     Delta welcomes trained service animals, including psychiatric service and emotional support
     animals on our flights. Effective March 1, 2018 we are changing our requirements. For these
     requirements please go to: delta.com/animals.


     AUTOMATIC CHECK-IN NOW AVAILABLE
     We've added Automatic Check-In to the Fly Delta app to save you time and hassle. This means if
     you're traveling in the United States, Puerto Rico or the U.S Virgin Islands, we'll automatically
     check you in 24 hours prior to your scheduled departure. Just open the app and you'll be on your
     way. Don't have the app? Click here to download. Learn more about automatic check-in.


     RESTRICTED HAZARDOUS ITEMS
     To ensure the safety of our customers and employees, Delta will no longer accept smart
     bags starting January 15, 2018. Smart bags with non-removable lithium-ion batteries
     will not be permitted as carry-on or checked baggage on any Delta mainline or Delta Connection
     flight. For more information, please visit our News Hub.

     Hoverboards or any lithium battery powered self-balancing personal transportation devices are
     also not permitted as both carry-on and checked baggage.

     Spare batteries for other devices, fuel cells, and e-cigarettes are permitted in carry-on baggage
     only. If your carry-on bag contains these items and is gate checked, they must be removed and
     carried in the cabin. Further information and specific guidelines regarding restricted items can be
     found here.


     ATL Construction Traffic Update
     Please be advised that you may experience roadway traffic delays due to ongoing construction
     efforts at the South Terminal of Hartsfield-Jackson International Airport (ATL). We recommend
     that you arrive at least 2 hours prior to your departure time. In addition, customers arriving using
     commercial transportation such as a hotel or parking service shuttle will be dropped at the North
     Terminal. For more information, please visit http://next.atl.com.


  Passenger Info

  NAME                                                            FLIGHT                        SEAT
  CHRISTOPHER BAKE HALL                                           DELTA 504                     13C
  SkyMiles #*******836                                            DELTA 5940                    03C
                                                                  DELTA 1425                    13B


  Visit delta.com or use the Fly Delta app to view, select or change your seat.
  If you purchased a Delta Comfort+™ seat or a Trip Extra, please visit My Trips to access a receipt
  of your purchase.



  Flight Receipt


                                                                   2
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  Ticket #: 0062344986371-72

  Place of Issue: Delta.com

  Ticket Issue Date: 19OCT18

  Ticket Expiration Date: 19OCT19


  METHOD OF PAYMENT

  CA************1027                                                                                  $1371.00 USD




  CHARGES

  Air Transportation Charges

  Base Fare                                                                                              $1240.93 USD

  Taxes, Fees and Charges

  United States - September 11th Security Fee(Passenger                                                     $11.20 USD
  Civil Aviation Security Service Fee) (AY)

  United States - Transportation Tax (US)                                                                   $93.07 USD

  United States - Passenger Facility Charge (XF)                                                            $13.50 USD

  United States - Flight Segment Tax (ZP)                                                                   $12.30 USD

  TICKET AMOUNT                                                                                       $1371.00 USD


  NONREF/PENALTY APPLIES

  This ticket is non-refundable unless the original ticket was issued at a fully refundable fare. Some fares may not allow
  changes. If allowed, any change to your itinerary may require payment of a change fee and increased fare. Failure to
  appear for any flight without notice to Delta will result in cancellation of your remaining reservation.

  Note: When using certain vouchers to purchase tickets, remaining credits may not be refunded. Additional charges
  and/or credits may apply.

  Fare Details: ATL DL EWR379.54KD3NA0CB /-NYC DL WAS491.16QA0ASHF1 /-BWI DL ATL370.23QA0QA0CB
  USD1240.93END ZP ATLLGABWI XF ATL4.5LGA4.5BWI4.5


  Checked Bag Allowance

  The fees below are based on your original ticket purchase. If you qualify for free or
  discounted checked baggage, this will be taken into account when you check in.

    Mon 22 Oct 2018                                 DELTA: ATL EWR


    CARRY ON                                        FIRST                                 SECOND



    FREE                                            $30USD                                $40USD


     Visit delta.com for details on baggage embargos that may apply to your itinerary.




                                                                           3
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    Tue 23 Oct 2018                                   DELTA: LGA DCA


    CARRY ON                                          FIRST                                  SECOND



    FREE                                              FREE                                   FREE




    Thu 25 Oct 2018                                   DELTA: BWI ATL


    CARRY ON                                          FIRST                                  SECOND



    FREE                                              $30USD                                 $40USD


      Visit delta.com for details on baggage embargos that may apply to your itinerary.




  Transportation of Hazardous Materials

  Federal law forbids the carriage of hazardous materials aboard aircraft in your luggage or on your person. A violation
  can result in civil penalties. Examples include: Paints, aerosols, lighter fluid, fireworks, torch lighters, tear gases and
  compressed gas cartridges.

  There are special exceptions for small quantities (up to 70 ounces total). For further information visit
  delta.com Restricted Items Section.



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  Terms & Conditions

  This ticket is non-refundable unless the original ticket was issued at a fully refundable fare. Some fares may not allow
  changes. If allowed, any change to your itinerary may require payment of a change fee and increased fare. Failure to




                                                                              4
Case 6:17-cv-00891-PGB-LRH Document 210-2 Filed 06/02/20 Page 85 of 156 PageID 8279

  appear for any flight without notice to Delta will result in cancellation of your remaining reservation.

  Note: When using certain vouchers to purchase tickets, remaining credits may not be refunded. Additional charges
  and/or credits may apply.


  Checked Bag Allowance

  *On Delta operated flights, you may carry on one bag and a small personal item at no charge.

  Delta One™/First/Business Class weight allowance reverts to 50 lbs for all checked bags beyond regular free
  allowance.

  At the time of check in with Delta, SkyMiles Medallion members, SkyTeam Elite & Elite Plus and active US Military
  personnel are eligible for fee waivers and other benefits. For more details, visit delta.com/baggage. Basic
  Cardmembers with a Gold, Platinum, or Reserve Delta SkyMiles Credit Card from American Express are eligible for
  the first bag fee waiver. More details on the program can be found at delta.com/firstbagfree.

  A standard checked bag with Delta may be up to 50 lbs and 62 linear inches (per piece). Additional fees apply for
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  operating carrier for detailed checked baggage allowances. You must be checked in at the gate by the applicable
  check-in deadlines or your reservation may be cancelled. Please review Delta's check-in requirement guidelines for
  details. Check-in requirements vary by airline, so if your ticket includes travel on other airlines, please check with the
  operating carrier on your ticket.

  Do you have comments about our service? Please email us to share them.

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  Air transportation on Delta and the Delta Connection® carriers is subject to Delta's conditions of carriage. They
  include terms governing for example:


  • Limits on our liability for personal injury or death of passengers, and for loss, damage of delay of goods and
  baggage.
  • Claim restrictions including time periods within which you must file a claim or bring action against us.
  • Our right to change terms of the contract.
  • Check-in requirements and other rules established when we may refuse carriage.
  • Our rights and limits of our liability for delay or failure to perform service including schedule change, substitution of
  alternative air carriers or aircraft, and rerouting.
  • Our policy on overbooking flights, and your rights if we deny you boarding due to an oversold flight.


  These terms are incorporated by reference into our contract with you. You may view these conditions of carriage on
  delta.com, or by requesting a copy from Delta.

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Subject:             FW: Hotels.com booking confirmation 8152019046836 - Hilton Garden Inn New York Times Square
                     South - New York




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                                                     renamed, or deleted. Verify that the link points to the correct file and location.   renamed, or deleted. Verify that the link points to the correct file and location.




                 Dear Chris, your reservation is guaranteed and all paid for.




                 Manage booking                Print receipt                                                                                                                                                                     Book again




           Hilton Garden Inn New York Times
           Square South
           326 W 37th St   ,




           New York   ,




           10018 ,




           NY,




           US

           +12128686700



           Hotels.com confirmation number                                                                                                                                                                                                      8152019046836

           Check-in                                                                                                                                                                                                                   Monday, October 22, 2018

           Check-out                                                                                                                                                                                                           Tuesday, October 23, 2018 (noon)

           Your stay                                                                                                                                                                                                                             1 night, 1 room

           Cancellation policy                   Free cancellation until 10/19/18 11:59 PM (GMT-05:00)

           Amount paid                                                                                                                                                                                                                                $289.23

                                                                                                                                   1
Case 6:17-cv-00891-PGB-LRH Document 210-2 Filed 06/02/20 Page 87 of 156 PageID 8281



                                                                                                                                       Manage booking                          Print receipt               Book again



                                                                                                                                                  Use our app for paperless check in.
                                                                                                                                                                                                             Download app now
                                                                                                                                                  Need access to this confirmation offline? Get our app.



                          Hotel Details
                          Hilton Garden Inn New York Times Square South
                          326 W 37th St, New York, 10018, NY, US Phone: +12128686700




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                          Required at check-in                                                                                                                            Credit card deposit required

                                                                                                                                                                          Government-issued photo ID required

                                                                                                                                                                          Minimum check-in age is 18


                          Room details
                          Room                                                                                                                                         Room, 1 King Bed
                                                                                                                                                                       Chris Hall, 2 adults

                          Preferences                                                                                                                                   Non Smoking, King Bed


                                                                                                                                                                                         2
Case 6:17-cv-00891-PGB-LRH Document 210-2 Filed 06/02/20 Page 88 of 156 PageID 8282

                                   Please note: Preferences and requests cannot be guaranteed. Special
                                   requests are subject to availability upon check-in and may incur additional
                                   charges.

      Facilities                        FREE WIFI


                                   1 King Bed
                                   Internet - Free wired Internet access
                                   Entertainment - 43-inch LCD TV
                                   Food & Drink - Refrigerator, microwave, coffee/tea maker, and
                                   room service
                                   Sleep - Blackout drapes/curtains
                                   Bathroom - Private bathroom, a hair dryer, and a shower/tub
                                   combination
                                   Practical - Safe, iron/ironing board, and desk; free cribs/infant
                                   beds available on request
                                   Comfort - Air conditioning, heating, and daily housekeeping
                                   Non-Smoking




      Payment details
      Price for room 1             Monday, October 22, 2018                                           $249.00

      Tax recovery charges                                                                              $40.23

      Total amount paid                                                                               $289.23




            Thank you for paying using your MasterCard ending in 1027. Your booking is
            guaranteed.
            You’ll need to pay any additional charges and fees incurred during your stay at the
            hotel in their local currency.


      You'll be asked to pay the following charges at the property:



      Deposit: USD 75 per day



      We have included all charges provided to us by the property. However, charges can vary, for
      example, based on length of stay or the room you book.

      Cancellation policy          Free cancellation until 10/19/18



                                                        3
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                                  If you change or cancel your booking after 11:59 PM, 10/19/18
                                  (Eastern Standard Time) you will be charged for 1 night
                                  (including tax)
                                  We will not be able to refund any payment for no-shows or early
                                  check-out.


      Your contact details        chall@hallandlampros.com, 4048768100


      Got a question?
      If you’ve already checked in or have questions related to the property, contact Hilton Garden
      Inn New York Times Square South at +12128686700

      For other questions, check out our FAQs, or call our Customer Service team:

      United States of America:
      24 hours a day; 7 days a week.
      800-246-8357
      This call is free.

      You’ll need your Hotels.com Confirmation Number 8152019046836.




      We will find you a rental car that suits your travel needs.




                                                    4
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         If you’ve got time we’d like to ask you 2 questions about your booking.

          Sign up to our newsletter for the latest deals, coupons and special offers

      View our Terms & Conditions and Privacy Policy related to your booking. Please print a copy to keep for
      future reference.


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                                                           5
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Subject:             FW: Hotels.com booking confirmation 8149540453287 - Hilton Garden Inn Washington DC
                     Downtown - Washington




                                                    The link ed image cannot be display ed. The file may hav e been mov ed,              The link ed image cannot be display ed. The file may hav e been mov ed,
                                                    renamed, or deleted. Verify that the link points to the correct file and location.   renamed, or deleted. Verify that the link points to the correct file and location.




                 Dear Chris, your reservation is guaranteed and all paid for.




                 Manage booking                Print receipt                                                                                                                                                                     Book again




           Hilton Garden Inn Washington DC
           Downtown
           815 14th St NW   ,




           Washington  ,




           20005 ,




           DC,




           US

           +12027837800



           Hotels.com confirmation number                                                                                                                                                                                                      8149540453287

           Check-in                                                                                                                                                                                                           Tuesday, October 23, 2018 (3 PM)

           Check-out                                                                                                                                                                                                          Thursday, October 25, 2018 (noon)

           Your stay                                                                                                                                                                                                                            2 nights, 1 room

           Cancellation policy                                                                                                                                                                                                     See cancellation policy below

           Amount paid                                                                                                                                                                                                                                $763.78

                                                                                                                                  1
Case 6:17-cv-00891-PGB-LRH Document 210-2 Filed 06/02/20 Page 92 of 156 PageID 8286



                                                                                                                                       Manage booking                          Print receipt               Book again



                                                                                                                                                  Use our app for paperless check in.
                                                                                                                                                                                                             Download app now
                                                                                                                                                  Need access to this confirmation offline? Get our app.



                          Hotel Details
                          Hilton Garden Inn Washington DC Downtown
                          815 14th St NW, Washington, 20005, DC, US Phone: +12027837800




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                          Required at check-in                                                                                                                            Credit card or cash deposit required

                                                                                                                                                                          Government-issued photo ID required


                          Room details
                          Room                                                                                                                                         Room, 2 Queen Beds
                                                                                                                                                                       Chris Hall, 1 adult

                          Preferences                                                                                                                                   Non Smoking, 2 Queen Beds




                                                                                                                                                                                         2
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                                 Please note: Preferences and requests cannot be guaranteed. Special
                                 requests are subject to availability upon check-in and may incur additional
                                 charges.

      Facilities                  2 Queen Beds
                                  Internet - Free WiFi
                                  Entertainment - 42-inch LCD TV with premium channels and
                                  pay movies
                                  Food & Drink - Refrigerator, microwave, coffee/tea maker, and
                                  room service
                                  Sleep - Select Comfort bed, premium bedding, and blackout
                                  drapes/curtains
                                  Bathroom - Partially open bathroom, bathtub, free toiletries, and
                                  a hair dryer
                                  Practical - Safe, free weekday newspaper, and iron/ironing
                                  board
                                  Comfort - Air conditioning and daily housekeeping
                                  Need to Know - No rollaway/extra beds available
                                  Non-Smoking, renovated in March 2018
                                  Connecting/adjoining rooms can be requested, subject to
                                  availability




      Payment details
      Price for room 1           Tuesday, October 23, 2018                                          $339.00
                                 Wednesday, October 24, 2018                                        $325.44

      Tax recovery charges and                                                                        $99.34
      service fees

      Total amount paid                                                                             $763.78




            Thank you for paying using your MasterCard ending in 1027. Your booking is
            guaranteed.
            You’ll need to pay any additional charges and fees incurred during your stay at the
            hotel in their local currency.



      Cancellation policy         This booking has two parts, each with its own cancellation
                                  policy.

                                  10/23/18 - 10/24/18 for 1 night

                                  Free cancellation until 10/20/18

                                                      3
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                                  If you change or cancel your booking after 11:59 PM, 10/20/18
                                  (Eastern Standard Time) you will be charged for 1 night
                                  (including tax)
                                  We will not be able to refund any payment for no-shows or early
                                  check-out.

                                  10/24/18 - 10/25/18 for 1 night

                                  Free cancellation until 10/18/18
                                  If you change or cancel your booking after 11:59 PM, 10/18/18
                                  (Eastern Standard Time) you will be charged for 1 night
                                  (including tax)
                                  We will not be able to refund any payment for no-shows or early
                                  check-out.



      Your contact details        chall@hallandlampros.com, 4048768100


      Got a question?
      If you’ve already checked in or have questions related to the property, contact Hilton Garden
      Inn Washington DC Downtown at +12027837800

      For other questions, check out our FAQs, or call our Customer Service team:

      United States of America:
      24 hours a day; 7 days a week.
      800-246-8357
      This call is free.

      You’ll need your Hotels.com Confirmation Number 8149540453287.



      We will find you a rental car that suits your travel needs.




         If you’ve got time we’d like to ask you 2 questions about your booking.

                                                    4
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                                                           5
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                                         Joseph Rickman


   Invoice:
   Date:          10/29/2018
   Case:          Lorenti/Sullivan v. GEICO
   Bill to:       Hall & Lampros, LLP
                  400 Galleria Pkwy Se
                  Suite 1150
                  Atlanta, GA 30339


   800 VIN Identification @ $2.50 per: $2,000.00


   Balance Due:         $2,000.00
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   CBH – Travel to/from Macon – 185 miles r/t @.55 per mile


   $101.75
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Subject:                                                                                   FW: Your Flight Receipt - CHRISTOPHER BAKE HALL 05DEC18




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      renamed, or deleted. Verify that the link points to the correct file and location.




     Hello, CHRISTOPHER BAKE                                                                                                                                                                                       SkyMiles #*******836 >
                                                                                                                                                                                                                            ®



                                                                                                                         The link ed image cannot be display ed. The file may hav e been mov ed,
                                                                                                                         renamed, or deleted. Verify that the link points to the correct file and location.




     Your Trip Confirmation #: G3IPU3


                                           You're all set. If you need to adjust your itinerary, you can make standard changes to your
                                           flight on delta.com including time, date and destination. Explore all of your options here.


     Wed, 05DEC                                                                                       DEPART                                                                                                      ARRIVE

     DELTA 1608                                                                                       ATLANTA                                                                                                     WASHINGTON-REAGAN
     First Class (P)
                                                                                                      9:02pm                                                                                                      10:40pm

     Thu, 06DEC                                                                                       DEPART                                                                                                      ARRIVE

     DELTA 2490                                                                                       WASHINGTON-REAGAN                                                                                           ATLANTA
     First Class (F)
                                                                                                      7:29pm                                                                                                      9:28pm




                                                   TSA CHANGES - ARRIVE EARLY
                                                   Please be aware of the recent changes to TSA screening procedures, including the requirement to
                                                   place powder-like substances over 12oz./350ml in your checked bag when traveling on an
                                                   international flight to the United States. For more information on powder restrictions, visit
                                                   delta.com.

                                                   In addition to these changes, many airports are experiencing a high volume of travelers, resulting
                                                   in long check-in, baggage drop and security checkpoint lines. Please plan to arrive at the airport
                                                   at least 2 hours prior to your departure when traveling domestically (within the U.S) and at least
                                                   3 hours prior to your departure when traveling internationally. We also encourage passengers to
                                                   check-in online at delta.com or via the Fly Delta app to help avoid delays.


                                                   NEW SERVICE & SUPPORT ANIMAL REQUIREMENTS




                                                                                                                                                                                                              1
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     Delta welcomes trained service animals, including psychiatric service and emotional support
     animals on our flights. Effective March 1, 2018 we are changing our requirements. For these
     requirements please go to: delta.com/animals.


     AUTOMATIC CHECK-IN NOW AVAILABLE
     We've added Automatic Check-In to the Fly Delta app to save you time and hassle. This means if
     you're traveling in the United States, Puerto Rico or the U.S Virgin Islands, we'll automatically
     check you in 24 hours prior to your scheduled departure. Just open the app and you'll be on your
     way. Don't have the app? Click here to download. Learn more about automatic check-in.


     RESTRICTED HAZARDOUS ITEMS
     To ensure the safety of our customers and employees, Delta will no longer accept smart
     bags starting January 15, 2018. Smart bags with non-removable lithium-ion batteries
     will not be permitted as carry-on or checked baggage on any Delta mainline or Delta Connection
     flight. For more information, please visit our News Hub.

     Hoverboards or any lithium battery powered self-balancing personal transportation devices are
     also not permitted as both carry-on and checked baggage.

     Spare batteries for other devices, fuel cells, and e-cigarettes are permitted in carry-on baggage
     only. If your carry-on bag contains these items and is gate checked, they must be removed and
     carried in the cabin. Further information and specific guidelines regarding restricted items can be
     found here.


     ATL Construction Traffic Update
     Please be advised that you may experience roadway traffic delays due to ongoing construction
     efforts at the South Terminal of Hartsfield-Jackson International Airport (ATL). We recommend
     that you arrive at least 2 hours prior to your departure time. In addition, customers arriving using
     commercial transportation such as a hotel or parking service shuttle will be dropped at the North
     Terminal. For more information, please visit http://next.atl.com.


  Passenger Info

  NAME                                                            FLIGHT                        SEAT
  CHRISTOPHER BAKE HALL                                           DELTA 1608                    03C
  SkyMiles #*******836                                            DELTA 2490                    05B


  Visit delta.com or use the Fly Delta app to view, select or change your seat.
  If you purchased a Delta Comfort+™ seat or a Trip Extra, please visit My Trips to access a receipt
  of your purchase.



   Flight Receipt

   Ticket #: 0062349102604

   Place of Issue: Delta.com

   Ticket Issue Date: 28NOV18

   Ticket Expiration Date: 28NOV19


                                                                   2
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   METHOD OF PAYMENT

   CA************1027                                                                                  $1561.40 USD




   CHARGES

   Air Transportation Charges

   Base Fare                                                                                              $1426.04 USD

   Taxes, Fees and Charges

   United States - September 11th Security Fee(Passenger                                                     $11.20 USD
   Civil Aviation Security Service Fee) (AY)

   United States - Transportation Tax (US)                                                                 $106.96 USD

   United States - Passenger Facility Charge (XF)                                                             $9.00 USD

   United States - Flight Segment Tax (ZP)                                                                    $8.20 USD

   TICKET AMOUNT                                                                                       $1561.40 USD


   This ticket is non-refundable unless the original ticket was issued at a fully refundable fare. Some fares may not allow
   changes. If allowed, any change to your itinerary may require payment of a change fee and increased fare. Failure to
   appear for any flight without notice to Delta will result in cancellation of your remaining reservation.

   Note: When using certain vouchers to purchase tickets, remaining credits may not be refunded. Additional charges
   and/or credits may apply.

   Fare Details: ATL DL WAS496.74HA0RX0FB DL ATL929.30J0F USD1426.04END ZP ATLDCA XF ATL4.5DCA4.5


   Checked Bag Allowance

   The fees below are based on your original ticket purchase. If you qualify for free or
   discounted checked baggage, this will be taken into account when you check in.

     Wed 05 Dec 2018                                     DELTA: ATL DCA


     CARRY ON                                            FIRST                              SECOND



     FREE                                                FREE                               FREE


      Visit delta.com for details on baggage embargos that may apply to your itinerary.




     Thu 06 Dec 2018                                     DELTA: DCA ATL


     CARRY ON                                            FIRST                              SECOND



     FREE                                                FREE                               FREE


                                                                            3
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      Visit delta.com for details on baggage embargos that may apply to your itinerary.




  Transportation of Hazardous Materials

  Federal law forbids the carriage of hazardous materials aboard aircraft in your luggage or on your person. A violation
  can result in civil penalties. Examples include: Paints, aerosols, lighter fluid, fireworks, torch lighters, tear gases and
  compressed gas cartridges.

  There are special exceptions for small quantities (up to 70 ounces total). For further information visit
  delta.com Restricted Items Section.



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   BOOK YOUR SUMMER GETAWAY. ›

   It's a great time to choose your next escape from more than 325
   destinations on six continents.




      We have partnered with The Nature Conservancy to allow you to offset your carbon emissions from this trip. Go to
   delta.com/sustainability to calculate your CO2 emissions and learn more about offsetting.


   Terms & Conditions

   This ticket is non-refundable unless the original ticket was issued at a fully refundable fare. Some fares may not allow
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   appear for any flight without notice to Delta will result in cancellation of your remaining reservation.

   Note: When using certain vouchers to purchase tickets, remaining credits may not be refunded. Additional charges
   and/or credits may apply.


   Checked Bag Allowance

   *On Delta operated flights, you may carry on one bag and a small personal item at no charge.

   Delta One™/First/Business Class weight allowance reverts to 50 lbs for all checked bags beyond regular free
   allowance.

   At the time of check in with Delta, SkyMiles Medallion members, SkyTeam Elite & Elite Plus and active US Military
   personnel are eligible for fee waivers and other benefits. For more details, visit delta.com/baggage. Basic
   Cardmembers with a Gold, Platinum, or Reserve Delta SkyMiles Credit Card from American Express are eligible for
   the first bag fee waiver. More details on the program can be found at delta.com/firstbagfree.

   A standard checked bag with Delta may be up to 50 lbs and 62 linear inches (per piece). Additional fees apply for
   oversize, overweight, and/or additional pieces of checked baggage. Please review Delta's baggage guidelines for
   details. Weight and size restrictions may vary when checking baggage on carriers other than Delta. Contact with the
   operating carrier for detailed checked baggage allowances. You must be checked in at the gate by the applicable
   check-in deadlines or your reservation may be cancelled. Please review Delta's check-in requirement guidelines for
   details. Check-in requirements vary by airline, so if your ticket includes travel on other airlines, please check with the
   operating carrier on your ticket.

   Do you have comments about our service? Please email us to share them.

   Conditions of Carriage




                                                                              4
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   include terms governing for example:


   • Limits on our liability for personal injury or death of passengers, and for loss, damage of delay of goods and
   baggage.
   • Claim restrictions including time periods within which you must file a claim or bring action against us.
   • Our right to change terms of the contract.
   • Check-in requirements and other rules established when we may refuse carriage.
   • Our rights and limits of our liability for delay or failure to perform service including schedule change, substitution of
   alternative air carriers or aircraft, and rerouting.
   • Our policy on overbooking flights, and your rights if we deny you boarding due to an oversold flight.


   These terms are incorporated by reference into our contract with you. You may view these conditions of carriage on
   delta.com, or by requesting a copy from Delta.

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                                                                              RENAISSANCE WASHINGTON D.C.                                                                                                    GUEST FOLIO


              610               HALL/C                                                            359.00                12/06/18              12:00                                                  38694
           ROOM                    NAME                                                           RATE                    DEPART                TIME                                                 ACCT#
           GK                   HALL & LAMPROS LLP                                                                      12/05/18              22:58
           TYPE                                                                                                           ARRIVE                TIME
              2
           ROOM
                                   ADDRESS                                                        PAYMENT
                                                                                                                                                                                                     MRW#:
           CLERK




        12/05                TELECOM                            BASEHSIA                                                        12.95
        12/05                TAX BASE                           BASEHSIA                                                          .78
        12/05                ROOM                                610, 1                                                        359.00
        12/05                RM TAX                              610, 1                                                         53.67
        12/06                MC CARD                                                                                                                            $426.40
        TO BE SETTLED TO:                     MASTERCARD -BK CURRENT BALANCE .00
        THANK YOU FOR CHOOSING RENAISSANCE! TO EXPEDITE YOUR
        CHECK-OUT, PLEASE CALL THE FRONT DESK, QUESTIONS REGARDING
        YOUR BILL CALL MBS 8664357627, EMAIL MBS.FOLIO@MARRIOTT.COM




                                                              See our "Privacy & Cookie Statement" on Marriott.com




                                                RENAISSANCE WASHINGTON D.C.
                                                999 9TH ST NW
                                                WASHINGTON, DC 20001




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This statement is your only receipt. You have agreed to pay in cash or by approved personal check or to authorize us to charge your credit card for all amounts charged to you. The amounts shown in the credit column opposite any credit card
entry in the reference column above will be charged to the credit card number set forth above. (The credit card company will bill in the usual manner.) If for any reason the credit card company does not make payment on this account, you will
owe us such amount. If you are direct billed, in the event payment is not made within 25 days after check-out, you will owe us interest from the check-out date on any unpaid amount at the rate of 1.5% per month (ANNUAL RATE 18%), or the
maximum allowed by law, plus the reasonable cost of collection, including attorney fees.

Signature X
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Subject:                 FW: Confirmation Notification: 507607640109




           RESERVATION CONFIRMATION NUMBER: 507607640109
           Click here to view, modify, or cancel this reservation.



           SUMMARY OF NEW BOOKING

           Room booked for 1 night(s), Thursday, January 10, 2019 - Friday, January 11, 2019


           Primary Guest Information                      Credit Card Information              Rate Information
                                                                                               Rate Total:                   $129.00
           MR Chris Hall                                  Visa
                                                                                               Taxes &
           Hall and Lampros LLP                           xxxx-xxxx-xxxx-4709                                                 $19.29
                                                                                               Fees:
           400 Galleria Parkway SE                        Exp: 02/23
           Atlanta GA 30339                                                                    Total:                        $148.29

           chall@hallandlampros.com
           Phone: 4048768100




           ROOM DETAILS

           Room Guest Information                         Room Information                     Rate Information
                                                                                               BAR- Best Available Rate
           Chris Hall                                     Deluxe King
                                                                                               Best Available Rate
           chall@hallandlampros.com                       This spacious 470 square foot
                                                          suite features one king sized bed,   Nightly Rate(s):
           Thursday, January 10, 2019 -                   full bath with deluxe amenities,     $129.00 USD ( January 10, 2019 )
           Friday, January 11, 2019                       32” flat screen TV with premium
           1 Adult 0 Children                             cable channels, complimentary
                                                          wireless internet access (Wifi),
                                                          AM/FM alarm clock radio, work
                                                          desk with chair, telephone with
                                                          personal voicemail messaging, in-
                                                          room safe, iron and board and
                                                          hair dryer and complimentary




                                                                        1
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                                                 Washington Post delivered to
                                                 guestroom. Enjoy daily turndown
                                                 and shoeshine services. Most
                                                 suites come equipped with a
                                                 kitchenette with kitchen essentials
                                                 for your stay. Maximum
                                                 occupancy for this suite is two. All
                                                 suites are non-smoking.




     GUARANTEE POLICY:
     Credit Card Guarantee is Required upon Booking.


     TAX POLICY:
     Occupancy Tax 14.95 Pct on Stay


     CANCELLATION POLICY:
     Cancel 1 day prior to arrival by 3PM local hotel time or 1 night penalty


                                                        2117 E STREET NORTHWEST
                                                        WASHINGTON, DC 20037
                                                        Phone: 202-861-8200




                                                                2
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         MICAH BELLAMY, ANTHONY COOK, and
         MAURICE JONES, et. al.


                   Plaintiffs,

         v.

         GOVERNMENT EMPLOYEES INSURANCE
         COMPANY, GEICO GENERAL INSURANCE                                CASE NO.: 6:17-cv-891-ORL-
         COMPANY,                                                                 40KRS

                   Defendants.
         ______________________________________
         ANTHONY LORENTI and
         ASHLEY BARRETT, individually and on behalf
         of all others similarly situated,


                   Plaintiffs,
         v.
         GEICO INDEMNITY COMPANY,                                        CASE NO. 6:17-cv-1755-ORL-
                   Defendant.                                                      40DCI

         ______________________________________


                                 DECLARATION OF BRADLEY W. PRATT

              Bradley W. Pratt declares as follows, pursuant to 28 U.S.C. § 1746:

              1.         My name is Bradley W. Pratt. I am over the age of majority, provide this

       declaration voluntarily, and it is based on personal knowledge.

              2.         I am a partner in the law firm Pratt Clay, LLC and I am one of counsel of

       record representing Plaintiff in the above-styled lawsuit. I was appointed by the Court as

       Counsel by and for the Class along with co-counsel in this matter on April 9, 2019.

                                                     1


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              3.      I have been licensed to practice law in the State of Georgia since 2004, in

       the State of Mississippi since 2004, and in the State of Florida since 2011.

              4.      This declaration is submitted pursuant to the parties’ Settlement Agreement,

       and in support of Plaintiffs’ request for attorneys’ fees and the parties’ Motion for Final

       Approval of Proposed Class Action Settlement in the above-styled matter.

                              Time and Resources Expended on the Case

              5.      Three lawyers and one paralegal from Pratt Clay have worked on this

       matter. This represents most of our legal professionals in our law firm. When our legal

       professionals are working on a single matter in this regard, it affects their ability to

       generate revenue for the firm through other work.

              6.      The firm makes a deliberate effort not to duplicate efforts to be efficient,

       and because the firm takes matters on a contingency basis. I served as lead partner in

       the case for the firm. Associates Brian C. Mickelsen and Christopher Lambden also

       performed important work on the case. Our firm’s paralegal James Leeson have also

       performed important work on the case.

              7.      To date, Pratt Clay’s lawyers and paralegals have spent a total of 1,013.9

       hours having a lodestar value of $752,349.50 from August 2017 through June 2, 2020,

       calculated at our firm’s current customary hourly rates for this type of matter. This value

       does not reflect a multiplier.

              8.      The amount of time recorded by each lawyer and paralegal and their

       billing rates are as follows:



                                                    2


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          Timekeeper          Firm       Position   Hourly        Hours              Amount
                                                     Rate
        Leeson, James       Pratt Clay   Paralegal $ 125.00           6.7     $            837.50
        Mickelsen,          Pratt Clay   Associate $ 390.00           3.9     $            1,521
        Brian C.
        Lambden,            Pratt Clay   Associate $    290.00        5.4     $            1,566
        Christopher
        Pratt, Bradley      Pratt Clay   Partner    $   750.00      997.9     $         748,425
                                                                  1,013.9     $         752,349.50

               9.        I believe that the rates set forth above are reasonable and commensurate

       with rates charged by lawyers in the Orlando and Middle District of Florida area

       handling similar types of complex class action matters. I have reviewed the hourly

       tasks in my firm’s timesheets for duplication of efforts or unreasonable entries and

       believe that the tasks and time are reasonable and necessary.

               9.        Pratt Clay, LLC has invested substantial resources in the prosecution of this

       matter. The firm’s reasonable and necessary costs and expenses in this matter are $7,563.61

       to date. I have reviewed the expenses in this matter and they are reasonable and necessary

       for a matter of this type.

               10.       Pratt Clay, LLC has undertaken its work in this matter on a purely contingent

       basis. The firm has received no compensation for its professionals’ time to date.

               11.       Due to the substantial time commitment, Pratt Clay, LLC, and particularly

       Bradley W. Pratt, forewent other fee and profit-generating opportunities in pursuit of this

       case. Given the tremendous risk of no recovery in this difficult case, and the substantial

       time and effort needed for a case of this type, I and my small law firm would never have

       agreed to take on this matter without the opportunity for a contingency risk multiplier.




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              12.     My work in this case amounted to approximately 30% of my total hours

       worked during the period August 2017 through the morning of June 2, 2020. This represents

       a significant commitment by my small law firm because I am one of only two partners in the

       firm. My work was directed to co-managing the litigation, including serving as one of the

       primary points of contact with defense counsel, directing hundreds of correspondence among

       the relevant counsel and stakeholders, conducting written discovery, taking key depositions

       (including corporate representatives pursuant to Fed. R. Civ. P. 30(b)(6)), assisting with data

       analysis, applying class action and complex litigation expertise (with perspective unique

       among our team from representing both plaintiffs and defendants in class actions),

       representing Plaintiff at mediation, and extensive work researching and briefing all matters

       submitted to the Court from my entry in the case through today. Because of the daily rigors

       of litigation practice, I believe there is a substantial amount of time spent working on this

       case that I did not record, and therefore for which I am not seeking fees. In addition, my

       firm’s work on this matter continues and will continue through final approval and any

       appeal, and that additional time and expense is not recorded herein.

              13.     Brian Michelson was an associate at Pratt Clay, LLC at the time of his work

       on this matter. Mr. Michelson assisted Mr. Pratt with legal research to support motions and

       briefs filed in the case, research for authority regarding disputed discovery issues, and

       assisted me with drafting motions and briefs filed in the case.

              14.     Christopher Lambden is an associate at Pratt Clay, LLC at the time of his

       work on this matter. Mr. Lambden assisted Mr. Pratt with legal research to support motions




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       and briefs filed in the case, research for authority regarding disputed discovery issues, and

       assisted me with drafting motions and briefs filed in the case.

              15.     James Leeson is a paralegal at Pratt Clay, LLC. Mr. Leeson assisted with

       preparing of complex and voluminous document projects on the case, including preparing

       exhibits and filing for large motions and briefs, document and data productions, and expert

       witness materials.

                                    Pratt Clay, LLC Lawyers’ Experience

              17.     Bradley W. Pratt is a founding member of Pratt Clay, LLC. My practice

       focuses on complex litigation, including class actions. I have practiced law for over 15 years,

       and the throughout the entirety of that time period I have worked on class actions in state

       and federal court. For example, in 2017, I was co-trial counsel in a class action tried to jury

       verdict in federal court in California. See Bahamas Surgery Center, LLC v. Kimberly-Clark

       Corporation, et al., C.D. Cal., Case. No. 2:14-cv-08390-DMG (representing consumer

       products manufacturer and its former healthcare division in putative class action challenging

       the design, labeling, and advertising of a Class II medical device). Diverse examples of large

       scale, complex, or data-intensive actions throughout my career include Commonwealth of

       Kentucky, Pike County, Kentucky v. Purdue Pharma, Pike County Superior Court,

       S.D.N.Y., 2nd Cir. (2015) (representing prescription drug manufacturer in parens

       patriae/class action on behalf of Kentucky citizens seeking Medicaid-related costs and

       damages for alleged public nuisance caused by the company’s marketing and promotion of

       prescription pain medication); Grair v. GlaxoSmithKline, Los Angeles County Superior

       Court Case No. BC288536, Johnson v. GlaxoSmithKline, No. B199453 (Cal. Ct. App., 2nd


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       Dist. Div. 7) (2008) (representing prescription drug manufacturer in putative class action

       challenging the labeling and advertising of FDA-regulated products under California’s

       consumer protection laws); Flournoy v. Honeywell Intern., Inc., 239 F.R.D. 696 (S.D. Ga.

       2006) (representing chemical manufacturers in nuisance, property devaluation, and personal

       injury class action alleging toxic exposure to PCBs and mercury from chemical plant);

       Evans v. Walter Industries, Inc., 449 F.3d 1159 (11th Cir. 2006) (precedent-setting win on

       Class Action Fairness Act in favor of defense contractors in putative class action alleging

       personal injury and property damages caused by steel forge and foundry operations).

              18.     I received my B.A. from the University of Virginia in 1999, and my J.D.

       from the College of William & Mary, School of Law. Following law school, I clerked for

       the Honorable Rhesa Hawkins Barksdale on the United States Court of Appeals for the

       Fifth Circuit. Following the completion of this judicial clerkship, I joined King & Spalding,

       LLP’s Atlanta office as an associate attorney. I was an associate for six years, and then I

       was elected to the firm’s partnership. I was a partner at King & Spalding for an additional

       six years. In 2016, my last year as a partner at King & Spalding, my standard hourly rate

       was $695/hour. In 2019, in the Roth v. GEICO matter before the Southern District of

       Florida, the Magistrate Judge recommended, and the District Judge Ordered, that I be

       compensated for my work as co-lead class counsel at a rate of $750/hour with a 2.0

       multiplier for a total of $1,500/hour.

              19.     In late 2016, I founded The Pratt Law Firm, P.C., a boutique complex

       litigation practice representing plaintiffs and defendants, and in mid 2017, I co-founded

       Pratt Clay, LLC. Today, Pratt Clay maintains an active practice that includes sophisticated


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       class actions, False Claims Act/qui tam cases, mass tort product liability cases, complex

       business litigation, and high value personal injury matters. I have tried numerous cases to

       verdict in both state and federal courts, including unusually challenging trials such as a

       class action and a bellwether mass tort trial, as well as including cases around the country,

       including in California, Texas, Alabama, Tennessee, Georgia, Florida, and Pennsylvania.

       I have been named a Top 100 National Trial Lawyer, a Georgia Super Lawyer, a “Rising

       Star” by Law360, and I am Peer Review Rated as AV Preeminent” by Martindale-Hubbell.

              20.     Brian Mickelsen was an associate at Pratt Clay, LLC at the time of his work

       on this matter, and is a 2016 graduate of the University of South Carolina of Law, a 2011

       graduate of the London School of Economics at the University of London, and a 2010

       graduate of Brigham Young University. Mr. Mickelson was an Eagle Scout, and received

       honors in law school for receiving the highest grade in several classes. He has been a

       member of the Georgia bar since 2016, and has focused his practice while at Pratt Clay,

       LLC on complex litigation, class actions, and personal injury matters.

              21.     Christopher Lambden is an associate at Pratt Clay, LLC, and is a 2019

       graduate of Emory University School of Law, and a 2014 graduate of the University of

       North Carolina at Chapel Hill. Mr. Lambden was a Morehead-Caine Scholar at UNC

       where he was also Student Body President and the winner of the E. Eugene Jackson Award.

       In law school, Mr. Lambden was on the Dean’s List and was the winner of the Best Overall

       Advocate at the William W. Daniel National Mock Trial Competition, and Director of the

       Emory Law Mock Trial Society.




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               22.      James Leeson is a paralegal at Pratt Clay, LLC. He has obtained his

       Associates Degree in Paralegal Studies from Athens Technical College, and his Bachelor’s

       Degree in Political Science from the University of Georgia. He has worked for a paralegal

       for six years.

               Further declarant sayeth not.

                        I declare under penalty of perjury that the foregoing is true and correct.

               Dated 2nd, day of June, 2020.



                                                               /s/ Bradley W. Pratt
                                                               Bradley W. Pratt




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                           IN THE UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


MAURICE JONES, ANTHONY C. COOK and
MICAH BELLAMY, et. al.,


       Plaintiffs,                                        Case No.: 6:17-cv-00891-PGB-KRS


v.



GOVERNMENT EMPLOYEES INSURANCE
COMPANY, and GEICO GENERAL INSURANCE
COMPANY,


       Defendants.


ANTHONY LORENTI and ASHLEY BARRETT,
Individually and on behalf of all others similarly
situated,                                                 Case No.:6:17-cv-01755-PGB-KRS


       Plaintiffs,


v.



GEICO INDEMNITY COMPANY,


       Defendant.




                          DECLARATION OF CHRISTOPHER J. LYNCH
                     IN SUPPORT OF AWARD OF ATTORNEY FEES AND COSTS


       I, Christopher J. Lynch, declare under penalty of perjury:


       1.      I am a sole practitioner and one of the attorneys that this Court appointed


as Class Counsel for Plaintiffs and the Class in this action.




                                                                                              EXHIBIT B
       2.      I submit this declaration in support of Plaintiffs' application for attorney


fees and expenses. I have personal knowledge of the facts set forth in this Declaration.
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      3.       have extensive experience in insurance litigation and class actions in


Florida's state and federal courts. My credentials and experience are detailed in the


Resume attached as Exhibit 1. With respect to Class Actions, I have been designated as


class counsel in the following pending cases: Roth v. Geico General Ins. Co. Case No.


18-90016 D, United States Circuit Court of Appeals for the Eleventh Circuit; Sos v. State


Farm Mutual, Case No.      6:17-cv-890-ORL-40 LRH    (M.D. Fla.); Joffe et. al v. GEICO


Indemnity Ins. Co., et. al., Case No. 18-61361-CIV-WPD (S.D. Fla.); and Venerus v. Avis


Budge Rent A Car, Case No. 6:13-cv-921-CEM GJK (M.D. Fla.).


      4.     Geico is well known in legal circles as a formidable adversary. This fact is


borne out by this litigation which involved several motions to dismiss; motions to strike


pleadings and expert testimony; competing motions for summary judgment; motions to


compel; a motion for class certification, which was granted; and a motion to reconsider


the order granting class certification. Further, final class notice involving in excess of


250,000 claims has been completed.


      5.     The Parties reached settlement after approximately 30 months of litigation


and 2 separate mediations. The Settlement Agreement was the product of substantial


additional negotiations between the Parties following the second mediation conducted


by mediator Rodney Max.


      6.     The Settlement Agreement provides benefits to Class Members who file


claims, for tag and title transfer fees in the full amount alleged to be owed in the


respective operative complaints to total-loss insureds. This Court previously granted
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summary judgment in favor of the Plaintiff and awarded transfer fees in the amount of


$79.35 to Plaintiffs and the previously certified class. The Settlement Agreement


provides relief of this amount plus an additional $0.50 in branch fees for a total of


$79.85 to Plaintiffs and members of the Settlement Class. Due to the recovery of the


Branch Fee, the settlement is in excess of 100% of the relief requested plus prejudgment


interest.


       7.     1 have extensive experience in class actions.     I am aware of the attendant


costs and risks associated with such claims and in light of those factors and as a sole


practitioner I would never have agreed to accept the case absent the possibility of either


a multiplier or a recovery based on a percentage of the sums recovered.


       8.     My representation of the Plaintiff in this case grew out of my involvement


in Roth v. Geico General Ins. Co. In Roth , I was contacted by the insured, Kerry Roth, who


had totaled her leased vehicle which was insured by Geico. Concerned that she had


been shortchanged sales tax, I researched the issue and felt that under the policy


language the tax was owed.       Because I was a sole practitioner, i contacted Edmund


Normand of Normand PLLC for assistance. When we conferred regarding the Roth claim,


Ed suggested we also include a claim for title fees which research demonstrated should


also have been paid under the policy language and applicable law. As in Roth, and like


the issue of sales tax and title fees on totaled leased vehicles, as of the date this suit was


filed, no court had concluded that tag fees were owed on totaled vehicles - leased or


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owned. Accordingly, this was also a case of first impression for the damages sought to


be recovered.


       9.       In sum, presenting the claims in this action demanded considerable time


and effort, at a considerable risk of no recovery, over nearly 3 years. I have spent 373.4


hours at a rate of $750.00 for a total lodestar of $276,900 in litigating this case. The


hourly rate sought in this case mirrors that awarded to the undersigned in the Roth v.


Geico General action.


       10.      Finally, I have also incurred out of pocket costs and expenses in the


amount of $4,669.22 in the prosecution of this case. These costs and expenses were


reasonably and necessarily incurred in connection with this case. A breakdown of the


fees and costs are set forth in Exhibit 3 attached.


       Further affiant sayeth not.




                                                  By:
                                                  CHRISTEfPfHElVj. LYNCH
                                                  FBN 331041




                                                                                             EXHIBIT B
